     Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 1 of 161
                                                                         5-1




 1                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
 2

 3
       UNITED STATES OF AMERICA                )
 4                                             )
       vs.                                     ) Criminal Action
 5                                             )
       HERZZON SANDOVAL,                       ) No. 15-10338-FDS
 6     EDWIN GUZMAN,                           )
       CESAR MARTINEZ,                         )
 7     ERICK ARGUETA LARIOS,                   )
                          Defendants           )
 8

 9
       BEFORE:    THE HONORABLE F. DENNIS SAYLOR, IV
10

11
                                  JURY TRIAL DAY 5
12

13

14                John Joseph Moakley United States Courthouse
                                 Courtroom No. 2
15                              1 Courthouse Way
                                Boston, MA 02210
16
                                   February 5, 2018
17                                     9:00 a.m.

18

19

20

21

22

23                              Valerie A. O'Hara
                             Official Court Reporter
24                John Joseph Moakley United States Courthouse
                           1 Courthouse Way, Room 3204
25                              Boston, MA 02210
                            E-mail: vaohara@gmail.com
     Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 2 of 161
                                                                         5-2




 1     APPEARANCES:

 2     For The United States:

 3          United States Attorney's Office, by CHRISTOPHER J. POHL,
       ASSISTANT UNITED STATES ATTORNEY, and KELLY BEGG LAWRENCE,
 4     ASSISTANT UNITED STATES ATTORNEY, 1 Courthouse Way, Suite 9200,
       Boston, Massachusetts 02110;
 5
       For the Defendant Herzzon Sandoval:
 6
            Foley Hoag LLP, by MARTIN F. MURPHY, ESQ. and
 7     MADELEINE K. RODRIGUEZ, ATTORNEY,
       155 Seaport Boulevard, Boston, Massachusetts 02210;
 8
       For the Defendant Edwin Guzman:
 9
            Lawson & Weitzen, by SCOTT P. LOPEZ, ESQ.,
10     88 Black Falcon Avenue, Suite 345, Boston, Massachusetts 02210

11     For the Defendant Erick Argueta Larios:

12          THOMAS J. IOVIENO, ESQ., 345 Neponset Street
       Canton, MA 02021;
13
       For the Defendant Cesar Martinez:
14
            Stanley W. Norkunas, 11 Kearney Square,
15     Howe Building, Suite 202, Lowell, Massachusetts 01852.

16          ROBERT M. SALTZMAN, ESQ., 1 Central Street, Suite 5,
       Stoneham, Massachusetts 02180.
17
       ALSO PRESENT:     Gabriel Haddad, Spanish Interpreter
18                       Carrie Lilley, Spanish Interpreter

19

20

21

22

23

24

25
     Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 3 of 161
                                                                                5-3




 1                                     I N D E X

 2     WITNESS                               DIRECT   CROSS REDIRECT RECROSS
       JEFFREY ELLIOT WOOD, JR.
 3       By Mr. Iovieno                                 13
         By Mr. Norkunas                                20
 4       By Mr. Murphy                                  38
         By Mr. Lopez                                  108
 5       By Mr. Pohl                                              139
         By Mr. Murphy                                                        153
 6

 7
       EXHIBITS                                        FOR I.D.    IN EVIDENCE
 8
         224                                                             18
 9       225                                              80
         226                                                             81
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 4 of 161
                                                                                      5-4




           1                                   PROCEEDINGS

           2                THE CLERK:     All rise.    Thank you.   Please be seated.

           3                THE COURT:     All right.    Good morning, everyone.    The

           4     government has filed a supplemental notice, I guess it is,

           5     under Petroziello, Document 1928, which concerns the drug

           6     conspiracy.    I guess it was filed on Saturday.         Is this

           7     coextensive with the earlier Petroziello notice, in other

           8     words, is this entirely a subset of that notice?

           9                MS. LAWRENCE:     Yes, it is, your Honor.

08:32AM   10                THE COURT:     Okay.   And, obviously, I'm being

          11     hypertechnical here, but my plan is to make a Petroziello

          12     finding as to these statements as against these two defendants

          13     for this conspiracy.

          14                Do counsel want to be heard on that?        Do you want an

          15     opportunity to respond in writing?        Mr. Iovieno.

          16                MR. IOVIENO:    No, your Honor.     Briefly, I think

          17     there's two statements that relate to my client and his

          18     history, if you will, of selling drugs, a source of his supply,

          19     and I think there's a statement from one of the CW-s, CW-7,

08:32AM   20     that he was selling cocaine with Muerto.

          21                My understanding from the disclosures given last week

          22     or the week before from the government following a session of

          23     CW-7 was that he said that my client sold cocaine before he

          24     joined MS-13, and I took that to mean before my client joined

          25     MS-13, so I don't think it's within the scope of the
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 5 of 161
                                                                                      5-5




           1     conspiracy.    That's what was disclosed to me.

           2                MS. LAWRENCE:     Your Honor, I think the testimony from

           3     CW-1, sorry, CW-7, we expect it to be is that it was prior to

           4     CW-7's entry into MS-13, not necessarily Defendant Argueta

           5     Larios' membership in MS-13.         That's what we understand the

           6     testimony will be.

           7                THE COURT:     Okay.    Based on that representation and,

           8     obviously, conceivably it could change, I will make the

           9     necessary finding as to the statements set forth in Document

08:33AM   10     1928, that is, I find by a preponderance of the evidence that

          11     the drug conspiracy existed, the defendants were members of the

          12     conspiracy, that is, the two relevant defendants who are

          13     Martinez and Argueta Larios, and that the statements were made

          14     during and in furtherance of that conspiracy.

          15                All right.     What else, if anything, do we have to talk

          16     about?   Mr. Iovieno.

          17                MR. IOVIENO:    Yes, your Honor, I don't expect to be

          18     too long with Agent Wood.         I also spoke to the government, and

          19     I was going to attempt to put in the cooperation agreement in a

08:34AM   20     redacted form between the government and CW-1, and I believe

          21     the government is willing to stipulate that it's certainly an

          22     authentic agreement.      I just wanted to raise the issue with the

          23     Court concerning, I think an objection on relevancy grounds.

          24                MR. POHL:    First of all, I appreciate Mr. Iovieno

          25     doing it in this fashion.         CW-1 is not a witness.   There's been
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 6 of 161
                                                                                      5-6




           1     a sort of general discussion about, you know, the fact that

           2     there was an agreement, but I don't think unless and until CW-1

           3     becomes a witness, I don't think the document itself is

           4     relevant.    It's certainly authentic, it is the right agreement,

           5     it's the right document that was discussed during cross on

           6     Friday, but I think unless and until CW-1 testifies, it's not

           7     relevant.

           8                 THE COURT:     All right.    Well, I think it's somewhere

           9     between marginally relevant and irrelevant, but I will admit it

08:35AM   10     nonetheless.

          11                 MR. IOVIENO:    Thank you.

          12                 THE COURT:     Before I forget, in terms of the schedule,

          13     today I'm going to do our two normal breaks.          I guess I

          14     threatened I'll have only one break because I want to see how

          15     this unfolds, but let's have two breaks today.

          16                 On Wednesday, we're going to have to start at 9:30.         I

          17     have a very early medical procedure that I can't delay, and I

          18     might make it here by 9:00, I might not.         We'll call it 9:30,

          19     and that day we'll take one break.

08:35AM   20                 All right.     Anything else?

          21                 MR. NORKUNAS:     We're going to change the order just

          22     today briefly, after Mr. Iovieno, I'll go only about half an

          23     hour followed by Mr. Murphy and Ms. Rodriguez.

          24                 THE COURT:     Only half an hour.    I'm indifferent to the

          25     order that defendants cross.       It's up to you all unless you
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 7 of 161
                                                                                      5-7




           1     want me to make a ruling.

           2                Mr. Lopez.

           3                MR. LOPEZ:    Your Honor, I want to bring to your

           4     attention that I'm going to try to ask the witness about this

           5     ethnographic study of MS-13.       It's a book entitled, Gangsters

           6     Without Borders.     I'd like to offer it as a learned treatise

           7     and use it that way during my cross-examination.

           8                THE COURT:    All right.    I'm not sure the whole thing

           9     will come in, but conceivably portions of it will come in.

08:36AM   10     Have you had a chance to see this, Mr. Pohl?

          11                MR. POHL:    No, your Honor.

          12                THE COURT:    All right.    I think you need to show it to

          13     the government if you're going to use it, you need to show him

          14     the passages that you're going to use.         You can't just hand

          15     somebody a book.

          16                Mr. Pohl.

          17                MR. POHL:    If there's nothing else, your Honor, I did

          18     want to sort of flag one issue this morning.          I don't think it

          19     will be a live issue today since I expect that the bulk of

08:36AM   20     today's testimony will involve law enforcement witnesses.

          21                THE COURT:    Yes.

          22                MR. POHL:    But I think it's likely that tomorrow the

          23     government would put on one of the cooperating witnesses, who

          24     is a Spanish speaker, and, you know, I think, we're a couple

          25     days into the trial now, and I think both Ms. Lawrence and I
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 8 of 161
                                                                                   5-8




           1     were a little surprised on Friday at sidebar when there was a

           2     suggestion that there was the possibility that there would be

           3     an objection not only as to who some of the speakers might be

           4     in these multi-party conversations but to the transcripts

           5     themselves because to date, I think we've only received one

           6     competing transcript.

           7                And in the run-up to the trial, I think our linguists

           8     and Mr. Iovieno's transcript have essentially merged to the

           9     point where I don't think that's going to be a live issue

08:37AM   10     anymore, and so I just want to alert the Court that we

          11     are -- because we, I think, had I think several conversations

          12     in court where it appeared to us, anyway, it was clear there

          13     was no dispute as to the transcripts themselves, simply as to

          14     some of the speakers and the multi-party conversations, and

          15     that we don't have any sort of competing type transcripts at

          16     this stage.

          17                Our plan tomorrow is to use Ms. Huacuja as our

          18     interpreter for the cooperating witness who will testify, and,

          19     you know, she's also the party that prepared the transcripts,

08:38AM   20     but, you know, I think at this stage, we had every right to

          21     expect that that would be an appropriate sort of way to

          22     proceed, and I just want to alert the Court that that's what

          23     we're doing, and as of this morning, I think that's still an

          24     accurate state of play in terms of the transcripts.

          25                THE COURT:    All right.    I guess my initial reaction if
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 9 of 161
                                                                                        5-9




           1     there is a competing translation issue, that that's in the

           2     nature of expert testimony and will require disclosure

           3     beforehand.    Let's see how it plays out.

           4                Mr. Murphy.

           5                MR. MURPHY:    Yes, your Honor, I think from our

           6     perspective, this is a question of the government turning

           7     square corners.     I think we've been clear from the beginning

           8     that we had concerns with these transcripts and that we

           9     expected the government to go through the process that the case

08:39AM   10     law requires, which would require them to put on a witness, who

          11     we would have the opportunity to cross-examine about the way

          12     that the transcripts were prepared.

          13                I understand that's going to be Ms. Huacuja.           We have,

          14     I think, been clear with the government since January 18th that

          15     we objected to Ms. Huacuja serving both as the government's

          16     expert translator and as essentially a Court-sanctioned

          17     interpreter as well because I think that sends as mixed message

          18     and a message that's prejudicial to the defendants for the

          19     jury.

08:40AM   20                MR. POHL:   I'd say that's most certainly or we're

          21     certainly aware of the fact that we have to proceed to

          22     authenticate recordings and transcripts, as the case law

          23     directs, and as the Court directs, but that most certainly has

          24     not been clear.

          25                In fact, all of the conversations to date have been
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 10 of 161
                                                                                    5-10




           1      that in some of the conversations, I think really the chief

           2      issue are the sort of clique meetings where they are long,

           3      there's multiple parties speaking, and that it's been the case

           4      that drafts over time have undergone changes in terms of who

           5      the speakers are.

           6                We've had no notice, none, written, and there's been

           7      no competing transcripts that would have sort of flagged for us

           8      that there is an issue concerning the actual translations

           9      themselves that would sort of give the government a notice that

08:41AM   10      they, anyone on the defense team, any of the defendants

          11      contested the transcripts.

          12                The speakers in the multi-party conversations, that's

          13      certainly been flagged, and we certainly know that that's an

          14      issue for tomorrow, and we're certainly prepared to meet that,

          15      but at this stage, I do not believe Ms. Huacuja should end up

          16      being a witness in this trial because there's been no notice

          17      whatsoever there's anything wrong with the translations.

          18                The most that's been raised fairly I think in court is

          19      that some of the defendants object to the fact that the

08:41AM   20      speakers are assigned certain portions of the transcripts, not

          21      that there's anything inaccurate about the transcripts

          22      themselves.

          23                THE COURT:    Well, I think I hear Mr. Murphy saying

          24      that what they expect is that she will take the stand and say,

          25      I did the final translation in this and I speak Spanish and
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 11 of 161
                                                                                      5-11




           1      English fluently, and I went through them, and this is how I

           2      think it ought to be translated, and Mr. Murphy says, well, we,

           3      you know, ought to be able to cross-examine her.

           4                I guess it's a question of degree.        If they have an

           5      entire competing transcript that has not been disclosed, that's

           6      problematic.    On the other hand, if they say, well, isn't it

           7      true that word X has two meanings, you know, meaning A and

           8      meaning B, it seems to me that's fair cross-examination, so to

           9      some extent, it's a question of degree.        You know, if the

08:42AM   10      defense drops something on the government that I think is

          11      unfair or that they haven't had, you know, appropriate notice

          12      of under the circumstances, I may exclude it.

          13                You know, as far as her serving as both a translator

          14      and an expert witness, I, frankly, have lost track, has she

          15      been -- I thought it was Ms. Lilley and Mr. Haddad were the

          16      actual translators at the trial.

          17                MR. POHL:    I think they are, your Honor.       In the

          18      November trial, Ms. Lilley and Mr. Haddad were the translators

          19      for the in court proceedings.

08:43AM   20                THE COURT:    Right.

          21                MR. POHL:    Though Ms. Huacuja, I believe, was the

          22      translator at the witness stand for the Spanish-speaking

          23      witness, and that's certainly what we intended to do.

          24                THE COURT:    And that's what you expect to do?

          25                MR. POHL:    Correct.    I think that's the issue that I'm
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 12 of 161
                                                                                        5-12




           1      concerned about and I think Mr. Murphy is raising now.

           2                THE COURT:     Okay.

           3                MR. POHL:    Which is I certainly have no concern about

           4      calling Ms. Huacuja.     She'll accurately, I'm sure, describe the

           5      manner and means by which she prepared the transcripts, but

           6      since we had no reason to think that there was a problem with

           7      the transcripts, we have her as the linguist who will be

           8      translating for the witness.

           9                THE COURT:     She's not an official court translator, I

08:44AM   10      mean, in the sense the jury isn't going to be told I, the

          11      Judge, has selected her as a translator?

          12                MR. POHL:    Oh, no.

          13                THE COURT:     She is the government's selection of the

          14      person to do the translation, so I guess I don't have a problem

          15      with that.

          16                Mr. Iovieno, did you want to say something?          I saw you

          17      were starting to rise.

          18                MR. IOVIENO:    I did.     I just want to clarify from my

          19      perspective, my client's perspective, I don't want to speak for

08:44AM   20      everybody else, I'm less concerned about the actual

          21      interpretation of the transcripts and more with the

          22      identification of the speakers, which I believe is the

          23      testimonial, so that's my concern.

          24                THE COURT:     That's been flagged.     All right.      We'll

          25      take it as it goes.     All right.    Unless there's anything else,
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 13 of 161
                                                                                    5-13




           1      Lisa, how are we on jurors?

           2                THE CLERK:     We have 10 right now, Judge.

           3                THE COURT:     So as soon as we have a full complement of

           4      jurors, we'll get going.

           5                THE CLERK:     All rise for the jury.

           6                (JURORS ENTERED THE COURTROOM.)

           7                THE CLERK:     Thank you.   Court is now back in session.

           8                THE COURT:     Good morning, ladies and gentlemen.

           9      Welcome back.     For the record, it was a very disappointing but

08:59AM   10      exciting game yesterday.

          11                I had suggested on Friday that we might go with only

          12      one break.    We're going to try sticking with the two break

          13      system for a while here and see whether or not we're falling

          14      behind.   And just for your planning purposes, Wednesday morning

          15      of this week, I have a medical procedure early in the morning

          16      that I'm not confident I can be here at 9:00, so we're going to

          17      make it 9:30, and we'll take one break that day to make sure

          18      we'll get a full day.

          19                All right.     You understand you're still under oath?

08:59AM   20                THE WITNESS:    Yes, sir.

          21                THE COURT:     Okay.

          22                       JEFFREY ELLIOT WOOD, JR., RESUMED

          23                                 CROSS-EXAMINATION

          24      BY MR. IOVIENO:

          25      Q.    Good morning, Agent Wood.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 14 of 161
                                                                                    5-14




           1      A.    Good morning, sir.

           2      Q.    Let's talk a little bit about the protection details.          I

           3      have a few questions on that.       You indicated that this was a

           4      tactic used by the investigation?

           5      A.    Yes.

           6      Q.    And it was CW-1, Pelon, who was the individual who went

           7      out and solicited and communicated with the individuals that

           8      subsequently became involved in the protection details?

           9      A.    Yes, sir.

09:00AM   10      Q.    Okay.    And I think you indicated that you personally

          11      conducted the surveillance of the October, 2014 protection

          12      detail?

          13      A.    I was one of many on surveillance that day, yes, sir.

          14      Q.    How many officers or agents were involved with that?

          15      A.    You've got two SWAT teams, the State Police SWAT team.             I

          16      don't know how many people they brought.        The FBI SWAT team.

          17      You had the North Shore Gang Task Force.        You had an FBI

          18      airplane up.

          19      Q.    So there was constant surveillance over the entire

09:00AM   20      operation?

          21      A.    Yes.

          22      Q.    And is it fair to say that Mr. Larios was not a member or

          23      participated in that October 2014 protection detail?

          24      A.    Not in October, no, he was not.

          25      Q.    And I think you indicated that you personally went to the
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 15 of 161
                                                                                    5-15




           1      evidence room and took out a package?

           2      A.    I did, sir, yes.

           3      Q.    And when you do that, when you work for the FBI, it's

           4      pretty common you have to fill out some documents to do that,

           5      you just can't go take evidence and take it out without some

           6      kind of documentation?

           7      A.    No.    We had a chain of custody form.

           8      Q.    And you filled that chain of custody form out?

           9      A.    I did.

09:01AM   10      Q.    And you also indicated that you field tested the

          11      substance?

          12      A.    I did, yes.

          13      Q.    And did you also make a report about that field test?

          14      A.    Yes, I did.

          15      Q.    And did you put down on that report what the brand and how

          16      you went about conducting that field test?

          17      A.    No, I just say I conducted the field test.

          18      Q.    You just concluded that I went and conducted a field test,

          19      that was it?

09:01AM   20      A.    Well, I said I conducted a field test testing for the

          21      presence of cocaine and the field test tested positive for the

          22      presence of cocaine.

          23      Q.    And when you did that, you -- I think you testified that

          24      you used a knife and you cut into the package and took out some

          25      of the substance?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 16 of 161
                                                                                        5-16




           1      A.    I don't use the knife to take the cocaine out.         The test

           2      kit has a little device that you go and you take a little bit

           3      out, but I had to cut the packaging material to be able to get

           4      into it.

           5      Q.    So you cut the material, you just didn't cut into it and

           6      pull out -- you cut into the package and took out some of the

           7      substance and then tested it?

           8      A.    Correct.

           9      Q.    And you didn't weigh the substance?

09:02AM   10      A.    That I tested or --

          11      Q.    No, you didn't weigh the substance?

          12      A.    Not what I took out of the cocaine package, no.

          13      Q.    But you didn't weigh the package either?

          14      A.    No, I did.    It's in my report.

          15      Q.    Okay, but you said you field tested it, you didn't say you

          16      weighed it?

          17      A.    I said I tested the cocaine, which I tested.

          18      Q.    Right, that's what you field tested?

          19      A.    Correct.     You just take a very small amount out.         I'm not

09:02AM   20      going to -- once you take a little bit out, there's -- we're

          21      not going to weigh it, because if I weigh it, I'm going to

          22      spill it all over the place and make a hazmat.

          23      Q.    Okay.   When you test it, when you take a substance out,

          24      would you agree with me that the package would weigh a little

          25      bit less than it did before you took the substance out?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 17 of 161
                                                                                      5-17




           1      A.      The total kilogram?

           2      Q.      Well, you didn't weigh the --

           3      A.      I weighed the entire kilogram, and I put that, how much

           4      that weighed down in the report.

           5      Q.      You wrote that in your report?

           6      A.      Yes, I did.

           7      Q.      Along with the field test?

           8                  THE COURT:   Hold on.

           9      A.      So before I field test it, I weigh it, and then after the

09:03AM   10      field test, I weighed it, and it's in my report.

          11      Q.      It's in your report that you weighed it and field tested

          12      it or just field tested it?

          13      A.      Both.

          14      Q.      And when did you write that report?

          15      A.      I wrote that either that day or the following day.        I'd

          16      have to go and see the report to see the exact dates, but I

          17      remember it's on the form.

          18      Q.      And with respect to any other drug protection detail, did

          19      you personally do a field test and personally weigh the

09:04AM   20      substance on any of those other occasions?

          21      A.      On the other two, I was not present, so, no.       I didn't do

          22      that.

          23      Q.      And you spoke a little bit during your testimony about

          24      your agreement, if you will, with CW-1.        Again, that was a

          25      written agreement?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 18 of 161
                                                                                     5-18




           1      A.    Yes, Special Agent John Kelley had the informant sign that

           2      agreement.

           3                   MR. IOVIENO:    And if I could have the document camera

           4      just for the witness, your Honor.

           5      Q.    I'm going to show you a document --

           6                   MR. IOVIENO:    And I believe, your Honor, there's an

           7      agreement that this is a true and accurate copy of that

           8      agreement?

           9                   MR. POHL:    That's correct, your Honor.

09:04AM   10      Q.    And this is a copy of your agreement you had with CW-1?

          11      A.    Yes, I remember reviewing that document.        I remember

          12      seeing that, yes.

          13      Q.    And it details his obligations to the government and your

          14      objections to him; is that fair to say?

          15      A.    Yes.

          16                   MR. IOVIENO:    I would offer that, your Honor.

          17                   THE COURT:     All right.   It needs a number -- what --

          18                   THE CLERK:     224.

          19                   THE COURT:     224.   It's admitted, Exhibit 224.

09:05AM   20                   (Exhibit No. 224 received into evidence.)

          21      Q.    And there is a specific section in this exhibit for the

          22      compensation that was going to be paid to CW-1 during this

          23      investigation, correct?

          24      A.    Yes, that is correct.

          25      Q.    And, sir, during your investigation, I assume you were
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 19 of 161
                                                                                    5-19




           1      concerned about protecting CW-1?

           2      A.    Yes.

           3      Q.    All right.    And you were aware of the people that

           4      surrounded him in his every day life; is that fair to say?

           5      A.    I'm not sure what you mean by --

           6      Q.    Well, when he was out in the street for the three-year

           7      period, if you will, you wanted to make sure that the people he

           8      was surrounding -- his inner circle, if you will,

           9      girlfriends -- well, he had a girlfriend, correct?

09:06AM   10      A.    He did have a girlfriend, yes.

          11      Q.    And her name was Margarita?

          12                   MR. POHL:    Objection.

          13                   THE COURT:     Sustained.

          14      Q.    He had a girlfriend?

          15      A.    He did.

          16      Q.    Okay.    Did you know the history of that young woman?

          17                   MR. POHL:    Objection.

          18                   THE COURT:     Sustained.

          19                   MR. IOVIENO:    May I approach, your Honor?

09:06AM   20                   THE COURT:     No, put another question.

          21      Q.    Were you aware that the individual that was CW-1's

          22      girlfriend was Mr. Larios's former girlfriend?

          23                   MR. POHL:    Objection.

          24                   THE COURT:     Sustained.

          25      Q.    But CW-1 had a girlfriend, correct?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 20 of 161
                                                                                     5-20




           1      A.    Yes.

           2      Q.    Did he end up marrying that girlfriend?

           3                   MR. POHL:    Objection.

           4                   THE COURT:     Sustained.

           5                   MR. IOVIENO:    I have no further questions, your Honor.

           6                   THE COURT:     Okay.   Mr. Norkunas.

           7                   MR. NORKUNAS:     Thank you, Judge.

           8                                    CROSS-EXAMINATION

           9      BY MR. NORKUNAS:

09:07AM   10      Q.    Good morning, Mr. Wood.

          11      A.    Good morning, sir.

          12      Q.    I'm Stanley Norkunas, and I represent Cesar Martinez in

          13      these proceedings.

          14      A.    Yes, sir.

          15      Q.    And I have a few questions for you.           If I can see

          16      Exhibit 32.1, please.        I'd like to show you, again, the exhibit

          17      that was shown by the government to you, 32.1, which was the

          18      fight in the garage.

          19      A.    The video?

09:07AM   20      Q.    The video, right.       It might be 32.2.

          21                   (Video was played in Spanish)

          22      Q.    Once that was shown the first time, Mr. Pohl had asked you

          23      a question, did you see these defendants depicted in that, and

          24      you had said yes.        Is it fair to say none of these individuals

          25      were shown in that specific exhibit; is that correct?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 21 of 161
                                                                                      5-21




           1      A.      I don't -- when I first watched this video, it was two

           2      years ago, and that's when my law enforcement partners pointed

           3      out everyone to me.         I haven't reviewed it enough to have it

           4      refresh my memory exactly who was where, so I don't know if I

           5      can answer that question right now.          I'd have to sit down and

           6      review it with my partners again that helped me identify people

           7      last time.

           8      Q.      As you looked at it here today, it's fair to say you had

           9      no recognition of any of those individuals being any of these

09:09AM   10      four individuals here in court, correct, as you just saw it on

          11      the screen?

          12      A.      No, I thought -- I believe I identified or saw Playa,

          13      which is Edwin Guzman in there.          I can't --

          14      Q.      But you're not sure?

          15      A.      No.

          16      Q.      Okay.    And that's the best that you could say, right?

          17      A.      Yes.

          18      Q.      You may have seen someone, one person.        Now, in relation

          19      to --

09:10AM   20                     MR. NORKUNAS:   Could I have Exhibit 1.1, please.

          21                     THE COURT:   I'm sorry.

          22                     THE CLERK:   What exhibit is this?

          23                     MR. NORKUNAS:   1.1.

          24      Q.      You had indicated that this is a photograph of the garage

          25      where you believe the ESLS was holding meetings; is that
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 22 of 161
                                                                                    5-22




           1      correct?

           2      A.    No, I know this is where they were holding meetings.

           3      Q.    At one of the sites, though.      There was also a second

           4      site, correct, in Cambridge?

           5      A.    Yes.

           6      Q.    And that was a parking garage, correct?

           7      A.    That is right.

           8      Q.    A public parking garage?

           9      A.    Yes, that is correct.

09:10AM   10      Q.    And in relation to that particular location in Cambridge,

          11      did you do any type of videotaping of the individuals going to

          12      that location or coming from that location?

          13      A.    When I joined the investigation --

          14      Q.    That would be a yes or no answer.

          15      A.    Oh, personally, no, I did not.

          16      Q.    And in relation to this particular location, this was, in

          17      fact, a working garage, right?

          18      A.    It was a working garage, yes.

          19      Q.    And the -- shown in some of the videos, there's tires on

09:11AM   20      the side, there's tool cases, all of the things, there's lists

          21      of cars, correct?

          22      A.    Yes, this is a working garage, yes, sir.

          23      Q.    Okay.   And in relation, therefore, to the working garage,

          24      the individuals who worked in there did not want any disruption

          25      to their activities, so any individuals that came in to hold
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 23 of 161
                                                                                     5-23




           1      any type of group meeting would have to do it after the garage

           2      had closed for the day, correct?

           3      A.    Yes, all the meetings I attended and were involved in in

           4      surveillance took place after business hours.

           5      Q.    And in relation to the individuals that worked there, did

           6      you become aware that Mr. Martinez also was doing mechanical

           7      work in that garage?

           8      A.    Yes.

           9      Q.    And additionally he also had a tow truck, right?

09:12AM   10      A.    I wasn't aware of the tow truck, but if you say he had a

          11      tow truck, I'll --

          12                   THE COURT:     Well, hold on.   He's the lawyer, you're

          13      the witness.     If you don't know, you don't know.

          14                   THE WITNESS:    I don't know.

          15      Q.    Did you ever see kind of a fancy tow truck pulling up to

          16      that garage with "CM Towing" on the side?

          17      A.    No.

          18      Q.    Did you ever have pole cameras situated outside of that so

          19      you could monitor the activity that was coming and going?

09:12AM   20      A.    I don't believe we did.

          21      Q.    Now, and in relation to the garage itself, did you ever do

          22      any monitoring during what would be considered normal work

          23      hours for the garage?

          24      A.    I drove by the garage on a couple of occasions during work

          25      hours just to get a lay of the garage surveillance on it, but
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 24 of 161
                                                                                    5-24




           1      we did not, as far as I know, do any constant surveillance

           2      during working business hours.

           3      Q.    But, again, you became aware that Mr. Martinez did

           4      mechanical work out of that garage?

           5      A.    Yes.

           6      Q.    And in terms of whether this was 40 hours a week, 80 hours

           7      a week, that's not something you had monitored?

           8      A.    No, I didn't pay attention to his work hours there.

           9      Q.    In relation to the investigation itself, would it be fair

09:13AM   10      to say that one of the principles of conducting any long-term

          11      investigation is to find out as much as you can about the

          12      people that are under investigation?

          13      A.    Yes.

          14      Q.    So if Mr. Martinez is a person under investigation, you

          15      want to know is he working, right?

          16      A.    We knew that the majority of people we were investigating

          17      were working.

          18      Q.    You'd want to know are they paying taxes, right?

          19      A.    I'm not -- in this case, we weren't really paying

09:14AM   20      attention to whether they were paying taxes or not.

          21      Q.    Well, you indicated you had a multiplicity of governmental

          22      agencies assisting you, right?

          23      A.    Yes.

          24      Q.    Through those various agencies, through the various

          25      procedures that Congress has implemented, you can obtain a
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 25 of 161
                                                                                      5-25




           1      great deal of records about someone that is under

           2      investigation, correct?

           3      A.    Yes.

           4      Q.    And if you want to, you can find out -- because ICE was

           5      working with you, you could find out through ICE what the

           6      person's status is, correct?

           7      A.    Yes.

           8      Q.    And if you wanted to find out about financial information

           9      on people, various things such as the Patriot Act or something

09:14AM   10      else, you can get financial records on people, correct?

          11                   MR. POHL:    I'm going to object.

          12                   THE COURT:    Sustained.   You're asking, in part, a

          13      legal question.     I guess I'll caution the jury that tax records

          14      have elaborate procedures to protect them and law enforcement

          15      agencies other than the IRS normally do not have access to

          16      those records.     Go ahead.

          17      Q.    You can get bank records?

          18      A.    I can, yes.

          19      Q.    Okay.    Did any of that -- was any of that information

09:15AM   20      collected against Mr. Martinez in this case?

          21      A.    I don't think we did, no.

          22      Q.    And you also established where he lived and which home in

          23      Chelsea, correct?

          24      A.    Yes.

          25      Q.    And you went over at some point in time and monitored that
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 26 of 161
                                                                                    5-26




           1      residence, right?

           2      A.     Personally me, no.

           3      Q.     Someone from the task force, right?

           4      A.     I'm sure we did, yes.

           5      Q.     And you found out that he had a daughter living with him,

           6      right?

           7                    MR. POHL:    Objection.

           8                    THE COURT:    Sustained.

           9      Q.     And in the context of doing that as part of the

09:16AM   10      investigation, did you determine if there was anyone else

          11      living there with him?

          12      A.     I don't remember what we determined, who was living there

          13      besides him.

          14      Q.     Now, I mentioned a moment ago about the types of

          15      investigative tools that you could use and are available to

          16      you.     In this particular case relative to the phone calls or

          17      phone records, you did implement some procedures, correct?        You

          18      had toll records and you had pen registers, right?

          19      A.     We did have toll records, we had pen registers, yes.

09:16AM   20      Q.     And when I say "we," I'm talking about the task force as a

          21      whole, correct?

          22      A.     Yes.

          23      Q.     And if you needed to, there was also the availability of

          24      GPS monitoring for cars, correct?

          25      A.     Yes.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 27 of 161
                                                                                     5-27




           1      Q.    And what that does for you, if you want to know where a

           2      car goes, how often it goes, you can monitor it through that

           3      system, correct?

           4      A.    Yes.

           5      Q.    And, again, you didn't use pole cameras, but that would

           6      have been available to you, correct?

           7      A.    Yes.

           8      Q.    In terms of what was available to you, in 2013 I believe

           9      is when you said CW-1 was brought up to the United States, is

09:17AM   10      that correct, or was it the end of 2012?

          11      A.    It was either the end of 2012 or early 2013.         I wasn't the

          12      case agent at that point, so I wasn't as familiar with the CWs

          13      comings and goings at that point.

          14      Q.    Would it be fair to say that from your knowledge as a

          15      special agent of the FBI and in terms of the other gang

          16      investigations you had done, there was quite an availability of

          17      sophisticated electronic equipment available if you wanted to

          18      monitor something, like a meeting?

          19      A.    It depends.    That's a very hard question to fully answer

09:18AM   20      because --

          21      Q.    Let me see if I can give you something a little bit

          22      easier.   2012, there are things, micro miniature cameras, I

          23      think some of them are called "Go Cameras," correct?

          24      A.    I don't know Go Cameras.      I know our recording equipment.

          25      Q.    Ultimately with CW-1, you end up having him use a small
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 28 of 161
                                                                                        5-28




           1      camera that's placed on the bill of a baseball cap, correct?

           2      A.    I don't think we used the baseball hat with him.            I know

           3      we used different recording equipment, so I don't remember

           4      every place we hid the recording equipment.         We had many

           5      different locations that we hid the recording equipment.

           6      Q.    But you don't -- your position was you don't believe you

           7      had the sophisticated enough equipment to place on him until

           8      some time in 2014 to go into these meetings, correct?

           9      A.    That is correct, yes.

09:19AM   10      Q.    Now, once the meetings were done, there was -- CW-1

          11      himself is not carrying -- or is he, he's not carrying a

          12      monitor so that he would have the recorded information on his

          13      body, correct?    He's transmitting it outside to someone else?

          14      A.    No, that's incorrect.

          15      Q.    Whatever he was wearing would actually record both audio

          16      and video?

          17      A.    Sometimes just audio, sometimes audio and video.

          18      Q.    But the equipment was on his body that was doing it or

          19      clothing he's wearing as well, right?

09:19AM   20      A.    That is correct.

          21      Q.    So once that comes out, you now have to take that, do

          22      something with it so that it becomes some sort of a usable

          23      product for you, right?

          24      A.    That is correct, yes.

          25      Q.    And everything that you were initially handling was in
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 29 of 161
                                                                                       5-29




           1      Spanish, correct?

           2      A.    Yes, that is correct.

           3      Q.    And as a result of that, you have to send those out to get

           4      them translated, correct?

           5      A.    Most stayed within the FBI Boston division or within the

           6      task force, but there was a few that once we had some drafts on

           7      for the finalization would be sent out to translators who have

           8      already worked on the case that were initially brought into the

           9      Boston Division, then went back to their field offices and then

09:20AM   10      we'd send the information back there for them to finish.

          11                   MR. NORKUNAS:   Could I have the Elmo just for the

          12      witness, please.

          13      Q.    I'm showing you a document.      Do you recognize what

          14      that -- to yourself, just yes or no, do you recognize what that

          15      depicts?

          16      A.    Yes.

          17      Q.    And that deals with the translation of a particular

          18      recording, correct?     It's a cover sheet for it, right?

          19      A.    Yes, sir.

09:21AM   20      Q.    And that indicates that it was done out of the Tampa

          21      Division in Tampa, Florida, correct?

          22      A.    Yes.

          23      Q.    And also were recordings sent to other divisions?           Showing

          24      you another one, do you recognize what that depicts?

          25      A.    Yes.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 30 of 161
                                                                                     5-30




           1      Q.    And was that sent to -- it says an L and an A.         Would that

           2      be Los Angeles?

           3      A.    I think the office is Houston from the HO.

           4      Q.    And this one would show that a tape was sent where?

           5      A.    I believe that's for the -- I could be wrong, but I

           6      believe OC stands for Oklahoma City for Oklahoma City office.

           7      Q.    All right.    Oklahoma.   And this one would show you the

           8      tapes were sent to Houston, Texas?

           9      A.    Yes, sir.

09:22AM   10      Q.    Now, and then within the Boston Field Office, there were

          11      numerous individuals who also did transcribing, correct?

          12      A.    Yes, sir.

          13      Q.    And it would it be fair to say when these folks were doing

          14      their transcriptions, they were doing the Spanish to the

          15      English, right?

          16      A.    Yes, sir.

          17      Q.    And it would also be fair to say when they're doing their

          18      transcriptions, you didn't have any of your cooperating

          19      witnesses flying to Houston, Tampa, Florida, Oklahoma City to

09:23AM   20      do any type of assistance with those?

          21      A.    Well, as I mentioned previously --

          22                THE COURT:    Let him answer.

          23      A.    We brought people here, and at that point that's when our

          24      CW helped listen.     We also had most of all of our recordings

          25      were also reviewed by Trooper Estevez and Trooper Depena.         And
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 31 of 161
                                                                                        5-31




           1      then once we had rough drafts and everything, we sent them back

           2      to people who had already worked on them when they were here,

           3      so I would say when they were shipped out, we had already had

           4      that initial review done before they went back out to the other

           5      field offices.

           6      Q.    It's fair to say as you had looked at where there was a

           7      video or had listened to the audio, on all of these it was a

           8      multiplicity of voices speaking, most of the time together,

           9      right?     People would cut each other off, people would step in,

09:24AM   10      correct?

          11                  MR. POHL:    Objection.

          12                  THE COURT:    Well, I assume he's seen the video.        I'll

          13      let him answer, go ahead.

          14      A.    There are times where people -- there are people talking

          15      and sometimes they cut over one another, yes.

          16      Q.    And when the videos were sent out to -- for the initial

          17      translation, they're sent out to people that have no awareness

          18      of who anybody in a room may be, correct?

          19      A.    Well, no, that's incorrect because we didn't do that.            I

09:24AM   20      just testified to the fact that Trooper Depena and

          21      Trooper Estevez typically reviewed everything before anyone

          22      else got it just to get an overview of what happened.             And then

          23      we also would start work here and we brought people from all

          24      those other field divisions to Boston, and they would review it

          25      here, and then once we needed to start getting more of a
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 32 of 161
                                                                                      5-32




           1      draft -- from the draft to a formalized version, then we sent

           2      it back to those people who had already worked on it, so they

           3      were already familiar with it.

           4      Q.    So, again, the individual that would work on it out of

           5      Oklahoma City prepares a cover sheet that says, "Oklahoma

           6      City."   That task was actually done in Oklahoma City?

           7      A.    It says name and office of linguist.

           8      Q.    Right.

           9      A.    So, name and office of linguist.       If she's assigned to

09:25AM   10      Oklahoma, whether she's sitting here, she's still listing her

          11      office, because it says name and office of linguist.          So,

          12      again, we brought linguists here to Boston to help us, and then

          13      once we got done the initial, here are our drafts, they were

          14      not finalized versions, they were very draft oriented, they

          15      went back to their field offices, and then when we said, oh, we

          16      need this done more, we sent it back to the person who already

          17      worked on it and sent it to that field office.

          18      Q.    So you flew in everybody, a myriad of translators,

          19      linguists from the FBI to Boston?

09:26AM   20      A.    Yes, we did.    From October to January, we had several

          21      linguists from around the country sitting here going over all

          22      our video and audio recordings.

          23      Q.    Now, was there ever a collective meeting, to your

          24      knowledge, of the linguists where somebody is saying I think

          25      that was Fred, somebody saying I think that was John and
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 33 of 161
                                                                                    5-33




           1      somebody is correcting them?

           2      A.    I don't ever remember a group of linguists sitting

           3      together.    Each linguist got a recording, and during that

           4      timeframe we brought the CW in with Trooper Brian Estevez and

           5      Trooper Jose Depena, and they would sit down with the linguists

           6      going over everything, so that they would make sure that they

           7      could ensure that the linguists knew who was talking, knew what

           8      was being said because in Spanish even though you may be from

           9      Spain, you have a different dialect in Puerto Rico and

09:27AM   10      Puerto Rico to Chile, and there's all these different dialects.

          11                  So we had some people that came in that were very

          12      knowledgeable of the El Salvadoran dialect, others that

          13      weren't, and so Trooper Depena, Trooper Estevez, who had been

          14      listening to these recordings for a while now, had very

          15      distinct knowledge of those, that dialect.         The CW knowledge of

          16      that dialect would be able to explain the nuances of each

          17      conversation that was going on.

          18      Q.    A lot of the conversation that was taking place with these

          19      gentlemen was slang incident only to El Salvador, correct,

09:28AM   20      street slang?

          21      A.    Which is what I just said, yes.

          22      Q.    Now, in context of your position as the case agent in this

          23      particular case, would it be fair to say that it's appropriate,

          24      on occasion, to look at preceding reports, such as if you took

          25      over in 2015 as the case agent, you would still go back on
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 34 of 161
                                                                                    5-34




           1      occasion and look at 2012 or 2013 reports of other members of

           2      the task force, correct?

           3      A.    Yes, we can do that.     Yes.

           4      Q.    And you've testified in this case on numerous occasions,

           5      correct?   You, yourself, have testified in relation to the

           6      overall context of MS-13 on numerous occasions?

           7      A.    Well, we've only had one trial before this one, so that

           8      would be twice for testifying in this case.

           9      Q.    Well, you prepared affidavits under oath, right?

09:29AM   10      A.    Yes, sir.

          11      Q.    You testified before a grand jury on many occasions,

          12      correct?

          13      A.    Yes, sir.

          14      Q.    And in each and every one of those occasions when you used

          15      a nickname for my client, that was C-h-e-C-h-e, correct?

          16      A.    CheChe, yes.

          17      Q.    And when you looked at the reports of other individuals in

          18      this particular case, it's also fair to say that the agents

          19      associated with the case were using that same CheChe,

09:29AM   20      C-h-e-C-h-e, correct?

          21      A.    I believe so.

          22      Q.    And including right up to the time of the arrest of

          23      Mr. Martinez, the name referenced in the reports is CheChe,

          24      C-h-e-C-h-e, correct?

          25      A.    I believe that's correct.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 35 of 161
                                                                                    5-35




           1      Q.    Now, are you familiar with, I'm showing you a report

           2      that's dated from November of 2015 about an October of 2015

           3      meeting, and in the context of that I'm going to flip the page.

           4      There had been references to an outside meeting in Everett, and

           5      there had been someone who had participated in that and came

           6      out to you at some point in time and indicated to some agent, I

           7      think you are listed, and talked about the people that were

           8      there.     Is your memory refreshed about that?

           9      A.    Yes.

09:31AM   10      Q.    And within that, he indicated there was someone he did not

          11      know their full name and when you don't know someone's full

          12      name, is there an abbreviation that's consistently used?

          13      A.    Yes.

          14      Q.    What is that?

          15      A.    First name unknown, last name unknown and once I've

          16      spelled it out at point, then I say FNU/LNU.

          17      Q.    FNU/LNU is the common symbolism for that, right?

          18      A.    Yes.

          19      Q.    And that means first name, as you said, unknown, last name

09:31AM   20      unknown?

          21      A.    Correct.

          22      Q.    And he said there was a person in there, he didn't know

          23      who that was, but he knew -- he claims he knew other people

          24      present, but that person who he didn't know had the name of

          25      CheCha, correct?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 36 of 161
                                                                                    5-36




           1      A.    I see that, yes.

           2      Q.    Okay.   And that was in October of 2015, correct?

           3      A.    Yes.

           4      Q.    Now, I believe that you have talked to Mr. Pohl and

           5      Mr. Iovieno about the purpose of the protection details, and

           6      basically the purpose of that was people that would not be

           7      selling drugs, but you're looking to see if you can somehow get

           8      them involved in drugs was the purpose of putting together by

           9      the FBI protection details around the country, right?

09:32AM   10      A.    We've done that around the country where we used

          11      protection details, yes.

          12      Q.    Within that concept, right?      You come to me, you're not

          13      going to be able to make a buy, I'm not doing drugs, but you

          14      may be able to lure me into a protection detail involving

          15      drugs, correct?

          16      A.    I wouldn't say "lure," I would say -- I would ask if you

          17      would volunteer to help me protect my drug shipment.

          18      Q.    And finally in regard to your testimony in this particular

          19      case, let me just go back for one extra question for you in

09:33AM   20      response to that.     You didn't participate -- your participation

          21      was October, December of 2014 in protection details, correct?

          22      Actual participation.

          23      A.    Actual participation for surveillance or something

          24      involved was in October.      In December, I was helping -- for the

          25      December one, I had helped at the -- what we call the -- we say
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 37 of 161
                                                                                    5-37




           1      Curoc (ph), but it's just an undercover meeting where we get

           2      supervisors in the Bureau and the executive management of the

           3      Bureau to agree to this kind of -- to agree to an undercover

           4      operation, so I was the supervisor for the squad when we had to

           5      get that approval.

           6      Q.    Okay.   And the ones in October and December, Mr. Martinez

           7      was not involved with those, correct?

           8      A.    No, he was involved in the first one.

           9      Q.    Well, that was one back in when?

09:34AM   10      A.    That was in the earlier part of 2014.

          11      Q.    And you were not involved with that, correct?

          12      A.    That's correct.

          13      Q.    Now, were there any rules or were there rules in place

          14      that you were aware of for the group that using drugs

          15      recreationally, you would be punished?

          16      A.    I knew the rules saying that you weren't allowed to be

          17      publicly intoxicated or high because if you brought something

          18      bad onto the clique, that was a punishable offense.

          19      Q.    And if you missed meetings, you would get punished?

09:35AM   20      A.    Yes, you could be punished for missing meetings.

          21                MR. NORKUNAS:     Thank you, I have nothing further.

          22                THE COURT:    Mr. Murphy.

          23                MR. MURPHY:     Thank you, your Honor.

          24

          25
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 38 of 161
                                                                                    5-38




           1                                 CROSS-EXAMINATION

           2      BY MR. MURPHY:

           3      Q.    Good morning, Agent Wood.

           4      A.    Good morning, sir.

           5      Q.    My name is Marty Murphy, and I represent Herzzon Sandoval.

           6      He's the person you've identified as Casper, correct?

           7      A.    Yes, sir.

           8      Q.    Now, you testified on direct examination about the origins

           9      of MS-13, correct?

09:36AM   10      A.    Yes.

          11      Q.    And as you understand it, MS-13 started in Los Angeles?

          12      A.    Yes.

          13      Q.    And it was started by immigrants from El Salvador who'd

          14      fled El Salvador's civil war, correct?

          15      A.    Yes, sir.

          16      Q.    And oftentimes their legal status in the United States was

          17      uncertain, correct?

          18      A.    Yes, sir.

          19      Q.    And oftentimes you've learned that they joined MS-13

09:36AM   20      because they faced risks from other gangs in the Los Angeles

          21      area, correct?

          22      A.    Yes.

          23      Q.    Now, you've identified Mr. Sandoval as one of the leaders

          24      of ESLS, correct?

          25      A.    He was the first word, yes, sir.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 39 of 161
                                                                                    5-39




           1      Q.    And that was the group of men that you testified met in

           2      that Norman Street garage we've seen photos of, correct?

           3      A.    Yes, sir.

           4      Q.    Now, is it fair to say that you don't know when

           5      Mr. Sandoval first became affiliated with ESLS?

           6      A.    I don't know, no.

           7      Q.    And you don't know anything about the circumstances that

           8      led him to do that, correct?

           9      A.    That is correct.

09:37AM   10      Q.    And you don't know, for example, to the extent

          11      Mr. Sandoval has tattoos, you don't know when he got those,

          12      correct?

          13      A.    I don't know when he got tattoos, no.

          14      Q.    Or what the circumstances were that led him to get those

          15      tattoos, correct?

          16      A.    No.

          17      Q.    Now, you testified -- let me ask you.        In 2013 and 2014

          18      and 2015, I think you said, that's when CW-1, the person who

          19      was known as Pelon, was recording conversations in that Norman

09:37AM   20      Street garage, correct?

          21      A.    Yes, sir.

          22      Q.    And also some in 2016, correct?

          23      A.    I think we only had one, we may have had two in 2016.       I

          24      don't remember the exact amount right off the top of my head.

          25      Q.    But before 2014 and 2015 and 2016, as early as before he
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 40 of 161
                                                                                    5-40




           1      began recording those meetings, you sent or the FBI sent Pelon,

           2      CW-1, out to gather intelligence about the activities of

           3      cliques in the Boston area, correct?

           4      A.    Yes.

           5      Q.    And one of his objectives was to ingratiate himself with

           6      clique members in the Boston area, correct?

           7      A.    To get to know them, yes.

           8      Q.    Well, was his job to ingratiate himself?

           9      A.    My first recollection is that he was there to meet MS-13

09:38AM   10      clique members and pose as a drug dealer and start to

          11      infiltrate them.

          12      Q.    You testified that even though you were not the case agent

          13      in 2014 and 2013, you did monitor the reports that were

          14      written, correct?

          15      A.    I didn't read the reports, all of them, but I did talk to

          16      the case agents, both federal and state and local members of

          17      the task force to keep myself apprised of the on-goings of the

          18      case, yes.

          19      Q.    So you knew the major things that were going on, correct?

09:39AM   20      A.    Yes.

          21      Q.    After you became the case agent, I think you testified in

          22      response to Mr. Norkunas' questions, you did go back and look

          23      at the reports that had been done?

          24      A.    I said that I could have and I reviewed a couple, but I

          25      didn't go and read every single report that was written before
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 41 of 161
                                                                                    5-41




           1      I became the case agent.

           2      Q.    So your testimony then about what happened in 2013 and

           3      2014 is based on what you learned from the folks that you were

           4      working with, sort of your office mates?

           5      A.    Well, some from reviewing the reports and some from my

           6      conversations with Sergeant Millett, Special Agents Ben

           7      Wallace, Dave Cederleaf, John Kelley and Detective Scott

           8      Connolly.

           9      Q.    And all those people during that period were writing

09:40AM   10      reports, correct?

          11      A.    Well, not every single person in that group wrote reports,

          12      but some of them did, yes.

          13                  MR. MURPHY:   If I could have the document camera for

          14      the witness only, please.

          15      Q.    Showing you a document dated October 16, 2013, do you

          16      recall reading this report, sir?

          17      A.    I did not read that report, no.

          18      Q.    Do you recall, sir, that as part of the effort to get to

          19      know other clique members in the Boston area, the FBI gave

09:40AM   20      CW-1, Pelon, cigarettes, women's handbags, and sunglasses to

          21      give out?

          22      A.    I did not know that until I just read that document.

          23      Q.    Now, there were many meetings that Pelon CW-1 went to that

          24      he did not record, correct?

          25      A.    Yes, sir.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 42 of 161
                                                                                       5-42




           1      Q.    And whether he recorded the meetings or not, it was

           2      typical, wasn't it, for agents to sit down with Pelon and brief

           3      him afterwards, correct?

           4      A.    I would say debrief him afterwards.

           5      Q.    Fair enough.    So they would debrief him.      That is, he

           6      would give them an account of what was going on?

           7      A.    That is correct, yes.

           8      Q.    And that provided useful intelligence to the agents

           9      conducting the investigation about what was happening in the

09:41AM   10      field, correct?

          11      A.    I would say yes.

          12      Q.    And it was part of the intelligence that you were hearing

          13      about as you were paying attention to what was going on in your

          14      office relating to this investigation, correct?

          15      A.    Yes.

          16      Q.    And even after there are transcripts done of reports --

          17      let me ask the question a different way.        The investigation was

          18      moving pretty quickly, correct, in 2013, 2014?         Things were

          19      happening on a day-to-day basis?

09:42AM   20      A.    I knew that there would be times when things didn't happen

          21      quickly.     I knew that when I became the co-case agent in 2015

          22      that things moved quickly constantly.        I couldn't tell you how

          23      things were playing out on a day-to-day basis in '13 or '14.

          24      Q.    Is it fair to say, though, that these debriefings that you

          25      were getting from Pelon, the FBI would proceed and make
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 43 of 161
                                                                                    5-43




           1      strategic decisions about what to do next based on these

           2      debriefings because the investigation was generally moving

           3      faster than the ability to get formal translations of any tapes

           4      you recorded?

           5      A.    I don't -- I wouldn't be able to answer that the way

           6      you're phrasing it because, again, I wasn't a part, and if I

           7      remember correctly, things didn't move as quickly as they did

           8      in 2015.

           9      Q.    These debriefings that the agents conducted of Pelon,

09:43AM   10      CW-1, the agents typically wrote reports to document what Pelon

          11      had said in them, correct?

          12      A.    Yes.

          13      Q.    And this was part of the information that the agents

          14      working on the case then found valuable in understanding what

          15      was happening in the cliques in the Boston area, correct?

          16      A.    I would imagine so.

          17      Q.    And, sir, when you were describing the kind of

          18      intelligence that gets shared by law enforcement agencies about

          19      MS-13, intelligence reports like that form a significant part

09:43AM   20      of the basis that leads to law enforcement's understanding of

          21      what MS-13 is and what it's doing, correct?

          22      A.    I think you're trying to put too much into one question.

          23      I can -- I would say before we released an intelligent document

          24      that goes out around the country, we've corroborated

          25      everything, so if we have an uncorroborated report, we're not
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 44 of 161
                                                                                     5-44




           1      going to release that information --

           2      Q.    Okay.

           3      A.    -- because we haven't corroborated it.

           4      Q.    So an uncorroborated report.      What's an uncorroborated

           5      report, sir?

           6      A.    Well, if our CW comes and tells us something, we listen to

           7      it, we look at it, we evaluate it, but I'm not going to let the

           8      entire law enforcement community throughout the United States

           9      know that this is gospel for MS-13.        I'm going to wait and see,

09:44AM   10      oh, do we have a recording of it.       Then I can review the

          11      recording, compare it to what he said, and if they match, now I

          12      have it corroborated, because it's -- we have evidence that

          13      what he's saying is truthful.       Just because he told us

          14      something, we want to make sure we have other ways to back that

          15      up.

          16      Q.    Right.     And you recognize, sir, that you wouldn't rely on

          17      something a cooperating witness told you without that kind of

          18      corroboration, correct?

          19      A.    Correct.

09:45AM   20      Q.    So if a corroborating witness tells you something and

          21      there's no tape of it, that's not something that in your

          22      judgment should be viewed as worth relying on, correct?

          23      A.    I wouldn't say that the way you just phrased it, sir.        I

          24      would say I would look at it, but I'm not going to bring that

          25      into court as evidence, based -- unless I have, oh, here, it's
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 45 of 161
                                                                                    5-45




           1      on tape.

           2                   If you look at our case, everything we have that we're

           3      charging is on tape, so I'm not going to say it's worthless,

           4      it's just I'm not going to use that as my evidence unless I

           5      have somebody else saying it or, as I said, on tape.

           6      Q.    Fair enough.    Now, you testified that in 2015 you went to

           7      El Salvador, correct?

           8      A.    I did.

           9      Q.    And when you were in El Salvador, you learned that the

09:45AM   10      leaders of MS-13 in El Salvador were trying to implement

          11      stricter rules about how the cliques in the United States

          12      should operate, correct?

          13      A.    Yes.

          14      Q.    And they wanted the cliques in the United States to

          15      operate, essentially, more like the organization operated in

          16      El Salvador, right?

          17      A.    That is correct.

          18      Q.    El Salvador is, unfortunately, a very violent place, you

          19      would agree?

09:46AM   20      A.    Yes.

          21      Q.    It has one of the highest murder rates in the world?

          22      A.    I believe it has the highest murder rate in the world.

          23      Q.    And it's been that way since the civil war that you talked

          24      about, correct?

          25      A.    I can't testify going all the way back to the '70s and
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 46 of 161
                                                                                    5-46




           1      '80s.

           2      Q.      Okay.   But MS-13 in El Salvador is also in what's known as

           3      the rent collection business, correct?

           4      A.      Yes.

           5      Q.      And could you explain to the members of the jury what the

           6      rent collection business is?

           7      A.      In an MS-13 controlled neighborhood, the MS-13 gang

           8      members extort every business, whether it's trucks coming in to

           9      deliver supplies, goods, the bodegas, the taxicab drivers.        So

09:47AM   10      everyone has to pay money to MS-13, and they collect that

          11      money.

          12      Q.      And, in addition, you learned in 2015 that MS-13 wanted to

          13      make sure that the cliques in the United States were sending

          14      money to MS-13 gang members in prisons in El Salvador, correct?

          15      A.      Well, they were already doing that before 2015, but they

          16      wanted to set it up in a different process than before.

          17      Q.      They wanted to centralize it, correct?

          18      A.      Well, they wanted to go through the programs.

          19      Q.      To make it more like it was in El Salvador?

09:47AM   20      A.      Yes.

          21      Q.      Now, you learned about -- you say you learned about these

          22      efforts in 2015?

          23      A.      Yes.

          24      Q.      Do you recall, sir, learning that CW-1 was telling task

          25      force agents about the leadership in El Salvador's efforts to
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 47 of 161
                                                                                       5-47




           1      centralize control as early as 2013?

           2      A.      I'm not aware of that, no.

           3      Q.      Do you recall, sir, learning that the leaders in

           4      El Salvador, learning that Pelon was telling agents as early as

           5      2013 that the leaders in El Salvador wanted to impose the same

           6      rules on the cliques here as were imposed on MS-13 members in

           7      El Salvador?

           8      A.      Again, as I just said, I didn't learn about the programs

           9      until 2015.

09:48AM   10      Q.      Well, my question, sir, was about whether the leaders in

          11      El Salvador, as early as 2013, whether you learned that they

          12      wanted to apply El Salvador rules to cliques in the Boston

          13      area?

          14      A.      I wasn't that involved in the investigation to know the

          15      extent of what was being told and what was said.          I knew I

          16      heard from my partner once about East Coast Program.          I didn't

          17      really know what he meant until I went to El Salvador and then

          18      I fully understood what the programs were.

          19      Q.      Do you recall learning in 2013 that Pelon told agents that

09:49AM   20      MS-13 in El Salvador wants the same rules applied to cliques in

          21      the U.S. as they are in El Salvador?

          22                  MR. POHL:    Objection.

          23                  THE COURT:    I think you've asked that three times now,

          24      Mr. Murphy.

          25                  MR. MURPHY:    Thank you, your Honor.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 48 of 161
                                                                                    5-48




           1      Q.     Did you learn in 2013 whether Mr. Sandoval had a

           2      particular point of view about that?

           3                 MR. POHL:    Objection.

           4                 THE COURT:    Particular -- you'll have to rephrase.

           5      Sustained.

           6      Q.     Did you learn from the agents you were working with that

           7      Pelon had collected information about Mr. Sandoval's views

           8      about the orders that were being issued by El Salvador?

           9                 MR. POHL:    Objection.

09:50AM   10                 THE COURT:    Overruled.

          11      A.     I didn't know anything until 2015.

          12      Q.     So --

          13                 MR. MURPHY:    Could I have this just for the witness,

          14      please, on the document camera.

          15      Q.     If I show you a document dated February 17th -- I'm sorry,

          16      February 7, 2014, is that a document you recall reading in

          17      connection with this investigation?

          18      A.     I did not read that document, no.

          19      Q.     And that's a report written by one of your fellow agents,

09:50AM   20      sir?

          21      A.     That was written by -- I'd have to see the bottom of the

          22      document to see who actually wrote it, but there were two

          23      agents there.    That was written by David Cederleaf, a

          24      Special Agent with the FBI.

          25      Q.     So that's not a document that you've seen before today; is
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 49 of 161
                                                                                    5-49




           1      that correct?

           2      A.    That's correct.

           3      Q.    Do you recall learning anything about efforts in 2014 by

           4      El Salvador to require cliques here to send money to

           5      El Salvador for people in prison?

           6      A.    I knew that money was being sent back to El Salvador all

           7      along.   I've known that for a while.

           8      Q.    Do you recall learning in 2014 that that was something

           9      that Mr. Sandoval did not want to do?

09:51AM   10      A.    I wasn't aware of anything in 2014 along those lines.

          11      Q.    So if I were to show you --

          12                  MR. MURPHY:   If we could have this just for the

          13      witness, please.

          14      Q.    -- a report dated February 12, 2014?

          15      A.    I didn't read that report, no.

          16      Q.    And who was that report written by?

          17      A.    Special Agent David Cedarleaf.

          18      Q.    And is it a report about something that -- one of his

          19      debriefings with Pelon?

09:52AM   20      A.    Correct.

          21      Q.    But did you recall learning in February 2014 that

          22      Mr. Sandoval had told Pelon that he didn't want things in the

          23      cliques in the Boston area to be run the way they were in

          24      El Salvador?

          25      A.    No.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 50 of 161
                                                                                        5-50




           1      Q.     And if I were to show you -- for the witness only,

           2      please -- a report dated February 13, 2014.         Do you see that,

           3      sir?

           4      A.     I'm reading it right now.     I didn't read that report, but

           5      there were a few items that I had been be briefed about, but

           6      that was it.

           7      Q.     So you did not read -- this is another report that was

           8      written by -- let me turn the page over -- by Special Agent

           9      Cedarleaf?

09:53AM   10      A.     That's correct.

          11      Q.     And that's not a report that you read before today?

          12      A.     That is correct.

          13      Q.     Now, did the task force investigate a shooting that

          14      occurred in April 2014?      April 2014, pardon me.

          15      A.     We -- I wasn't a part of the investigation then.           I knew

          16      there was some brawls going on in Chelsea.         I'd have to be more

          17      specific of what shooting because there were lots of shootings,

          18      stabbings that occurred.

          19      Q.     Do you recall learning in April 2014 that Mr. Sandoval

09:54AM   20      told Pelon, CW-1, that he thought Tremendo -- and who's

          21      Tremendo?

          22      A.     Another MS-13 gang member.

          23      Q.     That he was angry with Tremendo for acting like he's in

          24      El Salvador, correct?

          25      A.     I wasn't aware of that conversation, no.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 51 of 161
                                                                                    5-51




           1      Q.     And if I show you a -- on the document camera, a report

           2      with the date of April 29, 2014, did you read that report

           3      before you came here last week to testify?

           4      A.     No, sir.

           5      Q.     Isn't your name on the bottom left-hand corner of that,

           6      sir?

           7      A.     Yes.

           8      Q.     And that's an electronic signature, correct?

           9      A.     Yes.

09:55AM   10      Q.     But you didn't read it before you signed it?

          11      A.     No, I don't remember -- I did read it, but I wasn't paying

          12      attention like I am now.      So I see my signature, yes, I know I

          13      would have read it, but I wasn't paying attention to it at that

          14      point to remember that I read it.

          15      Q.     Okay.   So Agent Cedarleaf -- and this report was also

          16      written by Agent Cedarleaf, correct?

          17      A.     Yes.

          18      Q.     And you said there was a period of time when you were the

          19      acting supervisor, correct?

09:55AM   20      A.     Yes, but I wasn't acting at that point.

          21      Q.     Okay.   What led you to be the second signature on that

          22      report, sir?

          23      A.     I have the ability -- I had the ability back then to sign

          24      reports for agents when the boss was in meetings, the boss was

          25      out.   There's several agents who have that ability, so when the
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 52 of 161
                                                                                    5-52




           1      in box got full, we'd go in and just try to sign them out for

           2      the agents trying to get them into the file.

           3      Q.    Doesn't the second signature, isn't that supposed to

           4      signify that someone has actually reviewed the report?

           5      A.    Right.     As I said, I reviewed it, but I just read it to

           6      make sure, okay, there's information in there and there's

           7      nothing wrong.     I wasn't the supervisor, so it wasn't my job to

           8      delve down, as I do now as a supervisor, where I actually

           9      scrutinize everything that I sign.

09:56AM   10      Q.    Okay.    So you just read it -- you read it, you signed it,

          11      but you didn't really pay attention to what was going on?

          12      A.    Correct.

          13      Q.    Now, CW-1, Pelon, had a direct open line of communication

          14      to MS-13 leadership in El Salvador, correct?

          15      A.    He earned that down the road, yes.

          16      Q.    Isn't it fair to say that as early as May of 2013, Pelon,

          17      that is CW-1, was participating in a teleconference call from a

          18      prison in El Salvador where the El Salvadorian leadership of

          19      MS-13 is housed?

09:57AM   20      A.    Again, I wasn't aware of that.       I didn't start recording

          21      conversations or having reports on conversations with

          22      leadership of El Salvador until several months after I became a

          23      case agent in 2015.

          24      Q.    So if I could ask you to look at the document that's on

          25      the screen.    That's a report dated May 29, 2013?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 53 of 161
                                                                                    5-53




           1      A.    The report is dated May 29, 2013, yes.

           2      Q.    And it was written, if we turn over to the back side, by

           3      Agent Freestone, did I get that, correct?

           4      A.    That may be a problem with the -- can you flip it over

           5      again for me for a second?

           6      Q.    Is there a person named Blaine Freestone?

           7      A.    I don't know who Blaine Freestone is.

           8      Q.    The case agent's name is listed as Chad Blackwood,

           9      correct?

09:58AM   10      A.    That is correct.

          11      Q.    Do you know who he is?

          12      A.    I do know who he is.

          13      Q.    And there's a list of all persons present, including

          14      yourself, do not include the CHS, correct?

          15      A.    That is correct.

          16      Q.    And in that space -- and this isn't -- we're looking at an

          17      official FBI report.     You'll give me that, correct?

          18      A.    Yes, that's -- oh, that's correct, yes.

          19      Q.    And it relates to this investigation, correct?

09:59AM   20      A.    Correct.

          21      Q.    And there's a person named Blaine Freestone who apparently

          22      wrote the report that you don't know who that person is, right?

          23      A.    That's correct.    He's not assigned to the Boston Division.

          24      Q.    Man, woman, you don't know?

          25      A.    I have no idea.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 54 of 161
                                                                                        5-54




           1      Q.      Okay.   And is it fair to say that until you are seeing

           2      this document here today, you did not know that CW-1 was

           3      participating in conference calls with the leadership of

           4      El Salvador's MS-13 from a prison in El Salvador as early as

           5      2013?

           6      A.      That is correct.

           7      Q.      Now, El Salvador's leadership in -- MS-13's leadership,

           8      pardon me, in El Salvador, many of them have been in prison,

           9      correct?

10:00AM   10      A.      I know that L. Diablito and his council are all in prison.

          11      Q.      And they're all in a single prison, right?

          12      A.      No, they're in different prisons.

          13      Q.      And is there one prison where many of them are?

          14      A.      They're spread out.

          15      Q.      All right.   By 2015, you were directly involved in this

          16      investigation, correct?

          17      A.      Yes, sir.

          18      Q.      And do you recall that on May 29, 2015, Pelon, that is

          19      CW-1, engaged in a drug transaction with an individual named

10:00AM   20      Flaco?

          21      A.      I am aware that there were many drug buys in 2015.        I

          22      imagine there was one in May.

          23      Q.      Do you recall, sir, an occasion when, during a drug buy,

          24      Flaco got a call from an individual named Bandito?

          25      A.      I believe I remember that drug buy, yes.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 55 of 161
                                                                                      5-55




           1      Q.      Who's Bandito?

           2      A.      I believe he was a leader of MS-13 down in El Salvador.

           3      Q.      And let me ask you whether this is a report.       Do you

           4      recall what that conversation was between Bandito and Flaco

           5      during that drug transaction on May 29, 2015?

           6      A.      If I remember correctly -- and, again, I'd have to review

           7      my report or my partner's report, but I believe I was present

           8      during that drug deal.      We were doing a controlled purchase of

           9      drugs from Flaco, and he was saying this is good, I'm going to

10:01AM   10      have you talking to leaders down in El Salvador because Flaco

          11      was the leader of the East Boston clique.

          12      Q.      Let me show you, if I may, a document dated September 29,

          13      2015.    Do you see that, sir?

          14      A.      Yes.

          15      Q.      And that -- although it's dated September 29th, it refers

          16      to an event on May 29, 2015, correct?

          17      A.      Correct.

          18      Q.      And this does concern a controlled purchase, a purchase of

          19      drugs with an individual named Flaco by CW-1, correct?

10:02AM   20      A.      Yes, sir.

          21      Q.      Who is Flaco again, by the way?

          22      A.      He's the leader of the East Boston Loco Salvatruchas

          23      clique.

          24      Q.      Not ESLS?

          25      A.      No, that's EBLS.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 56 of 161
                                                                                     5-56




           1      Q.    And is it fair to say, sir, that CW-1 briefed agents about

           2      what Bandito had said during the call that he made to Flaco?

           3      A.    Yes.

           4      Q.    And later that was recorded, correct?        That was recorded

           5      at the time, I should say, correct?

           6      A.    Well, the conversation between Flaco and the CW were

           7      recorded.     I don't think we were able to record that phone call

           8      because I don't think -- that was outside our presence, it was

           9      during the drug buy, so if they didn't have a speaker, it would

10:03AM   10      be very hard for us to pick up that conversation.

          11      Q.    But you were briefed on that by CW-1, correct?

          12      A.    Yes.

          13      Q.    And what CW-1 told you was that the leader --

          14                   MR. POHL:    Objection.

          15                   THE COURT:    Let me see counsel at sidebar.

          16                   (THE FOLLOWING OCCURRED AT SIDEBAR:)

          17                   THE COURT:    Why is it not hearsay, Mr. Murphy?

          18                   MR. MURPHY:    There are two reasons, your Honor.

          19      Number 1, it's not being offered for the truth.          Number 2 --

10:04AM   20                   THE COURT:    What do you expect the answer to be, the

          21      full question and answer?

          22                   MR. MURPHY:    The full question is that -- and I will

          23      say at the beginning of the questions that this agent -- which

          24      he testified about on direct examination, that this agent

          25      learned that there was a significant dispute between the
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 57 of 161
                                                                                     5-57




           1      leaders of MS-13 in El Salvador and Mr. Sandoval.          He learned

           2      about that from Pelon, so we say, your Honor, it's admissible

           3      for a number of different reasons.

           4                 First, the government was permitted over the defense

           5      objection to provide this agent's summary of a number of steps

           6      in the investigation, and he's already testified in very

           7      summary fashion, and we would say somewhat misleading by this

           8      dispute, that's Number 1.

           9                 So, Number 2 is that we say that to the extent that

10:05AM   10      these are statements from Pelon, which they all are, that they

          11      are admissions of a party opponent, and that issue has been

          12      briefed, as the Court has already said.

          13                 But I would say, your Honor, that, you know,

          14      ultimately, the government, having chosen to put this witness

          15      on as a summary witness, we are entitled to ask specific

          16      questions about the fax data that he wrote that underlie the

          17      summary.

          18                 THE COURT:    I thought the dispute evidence came on

          19      cross-examination.      I don't think the government elicited that.

10:05AM   20      I thought that was elicited by Mr. Iovieno.         I don't remember

          21      he testifying, and Mr. Pohl, help me out.         What is your -- what

          22      did he testify on direct?

          23                 MR. POHL:    Concerning?

          24                 THE COURT:    Concerning the dispute.

          25                 MR. POHL:    I mean, I think there was testimony that
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 58 of 161
                                                                                        5-58




           1      agents were aware, through the recordings through Pelon, to the

           2      extent that Pelon was the delivery device for the recordings,

           3      that there was an ongoing dispute between MS-13 leaders in

           4      El Salvador and the East Coast Program concerning whether that

           5      clique was going to join, but -- and that frankly, that

           6      information elicited and captured on recordings in several

           7      different forms and dates was one of the reasons why the agents

           8      had warned Mr. Sandoval.

           9                 THE COURT:    Oh, that's right.

10:06AM   10                 MR. POHL:    But I think -- so I don't, A, agree that

          11      Special Agent Wood testified as a summary witness.          And, B,

          12      everything that's going to come through that question would be

          13      hearsay.

          14                 THE COURT:    Well, I don't accept the confidential

          15      witness as agent argument.      I've looked at that, and I

          16      just -- I find that troublesome, so put that aside.

          17                 It seems to me that evidence having come out on direct

          18      is the background for warning the witness that there was this

          19      dispute that I will permit some -- either partway down this

10:07AM   20      path in order to provide a complete picture.         If you say, you

          21      know, isn't it true that CW-1 told you that there was this

          22      dispute and these were the contours of the dispute, that door

          23      having been opened slightly, I think I'll let you get that out,

          24      but it is otherwise I think hearsay, classic hearsay.

          25                 Again, I'm not saying it's irrelevant.        CW-1 could so
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 59 of 161
                                                                                     5-59




           1      testify, Sandoval could so testify, that's not the issue.         The

           2      witness is can we get it in through this witness, but I will

           3      allow if we could go question by question to go down this path

           4      to provide a complete picture of the dispute with headquarters

           5      in El Salvador.

           6                   MR. POHL:    Okay.   Thank you.

           7                   (SIDEBAR CONFERENCE WAS CONCLUDED)

           8                   THE COURT:    I think we have a juror who needs a break,

           9      so we might as well take our break now.

10:08AM   10                   THE CLERK:    All rise.

          11                   (A recess was taken.)

          12                   THE CLERK:    Thank you.   You may be seated.   Court is

          13      now back in session.

          14                   THE COURT:    I think what we'll do is we'll go until --

          15      I don't know, 11:30, 11:40 somewhere in there and take our next

          16      break.

          17      Q.    Special Agent Wood, we're talking about May, 29, 2015, the

          18      time when you were working on this case, correct?

          19      A.    Yes.

10:20AM   20      Q.    And that was the day that an individual named Bandito was

          21      called into the middle of this drug transaction that you'd

          22      arranged, correct?

          23      A.    Well, we directed, yes.

          24      Q.    And Bandito, you said, was a leader of MS-13 in

          25      El Salvador, correct?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 60 of 161
                                                                                    5-60




           1      A.    Yes.

           2      Q.    And he called CW-1, correct, on CW-1's phone?

           3      A.    Yes.

           4      Q.    And CW-1 had a conversation with Bandito that he reported

           5      back to you about, correct?

           6      A.    Yes.

           7      Q.    And ultimately there was a recording of that call, which

           8      you had a report about, right?

           9      A.    Well, if it worked properly, we had consensual T3 on so we

10:21AM   10      should have recorded that, and, yes, I do remember this day

          11      very well, and I remember writing my report.

          12      Q.    So, Bandito told CW-1 that he and the other leaders in

          13      El Salvador were concerned about Mr. Sandoval and Mr. Guzman,

          14      correct?

          15      A.    That is correct, yes.

          16      Q.    And that they weren't following the rules established by

          17      the East Coast Program, correct?

          18      A.    Yes, sir.

          19      Q.    And that he would not hesitate ordering Mr. Sandoval's

10:22AM   20      removal as the leader of the clique, correct?

          21      A.    Yes.

          22      Q.    And that there was discussions about promoting Muerto,

          23      correct?

          24      A.    Yes.

          25      Q.    And CW-1, in that same conversation, when he was talking
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 61 of 161
                                                                                        5-61




           1      back to the man in El Salvador said --

           2                MR. POHL:    Objection.

           3                THE COURT:    Is this something off the report now,

           4      Mr. Murphy?

           5                MR. MURPHY:    It's something off the summary

           6      transcript, your Honor.

           7                THE COURT:    I'm sorry.    This is not a summary of a

           8      recorded conversation, it's something different?

           9                MR. MURPHY:    This is a summary of the same recorded

10:22AM   10      conversation, your Honor.

          11                THE COURT:    All right.    Overruled.

          12      Q.    And what CW-1 told the individual in El Salvador, the

          13      leader, was that the leader could ask any clique about CW-1 and

          14      the only ones on the street were him and Muerto, correct?

          15      A.    That's what it says, yes.

          16      Q.    Now, on May 31, 2015, CW-1, Pelon, told agents about a

          17      conference call that he had with a number of MS leaders in

          18      El Salvador, correct?

          19      A.    I believe so, but I'd have to see my report.

10:23AM   20      Q.    So let me put a document on the document camera.            Let me

          21      show you a report.     That's a report by Ben Wallace dated

          22      May 31, 2015?

          23      A.    That doesn't say it's by Ben Wallace, he was the case

          24      agent for --

          25      Q.    I apologize.    The second page, the last page would tell us
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 62 of 161
                                                                                      5-62




           1      who wrote the report, correct?

           2      A.    Yes, and that's me.

           3      Q.    And turning to the last page, it was you, correct?

           4      A.    Yes, sir.

           5      Q.    In this report, if we turn to page 2, talks about a

           6      conference call between Pelon and a number of leaders in -- of

           7      MS-13 in El Salvador, correct?

           8      A.    Yes.

           9      Q.    And that included Bandito, the man they were talking about

10:24AM   10      a moment ago, correct?

          11      A.    Yes.

          12      Q.    A person by the name of -- it's spelled here "Sugar," but

          13      do you know how that's pronounced?

          14      A.    I believe we called it "Suga," we dropped the R.

          15      Q.    And who was he?

          16      A.    Another leader within the clique or within the East Coast

          17      Program.

          18      Q.    And was he also situated down in El Salvador?

          19      A.    He was.

10:24AM   20      Q.    And a person named Gorras, G-o-r-r-a-s.        Who is that?

          21      A.    A leader in El Salvador.

          22      Q.    So CW-1 was directly in touch with those leaders in

          23      El Salvador, correct?

          24      A.    Yes, I believe I testified earlier that in 2015, I was

          25      aware of those communications with him and the CW and leaders
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 63 of 161
                                                                                    5-63




           1      in El Salvador.

           2      Q.    And on those conference calls, what Pelon told you about

           3      them was that the leaders in El Salvador expressed their

           4      displeasure with Mr. Sandoval's leadership of the ESLS clique,

           5      correct?

           6      A.    Yes.

           7      Q.    But they were upset about his failure to include the

           8      clique in the East Coast Program?

           9      A.    Yes, that's correct.

10:25AM   10      Q.    And that recently Mr. Sandoval had refused to even speak

          11      with those individuals who were the leaders of the East Coast

          12      Program in El Salvador, correct?

          13      A.    Yes.

          14      Q.    And they talked on those conference calls -- and this is

          15      back in the end of May 2015, right?

          16      A.    Correct.

          17      Q.    They talked in those conference calls about punishing

          18      Mr. Sandoval for disobeying their orders and replacing him as

          19      leader of the clique, correct?

10:26AM   20      A.    Yes.

          21      Q.    They stressed that the punishment would consist of a

          22      beating, which could be administered by the leader of a MS

          23      clique in Rhode Island, correct?

          24      A.    Yes, sir.

          25      Q.    And that was May 31, 2015?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 64 of 161
                                                                                    5-64




           1      A.    Yes.

           2      Q.    Now, on July 14, 2015, so about six weeks later, Pelon,

           3      that is CW-1, briefed agents about another call that he had

           4      with Gorras, that's one of the big guys in El Salvador,

           5      correct?

           6      A.    Yes.

           7      Q.    Suga and others, correct?

           8      A.    Yes.

           9      Q.    And during that call, do you recall that the leaders in

10:26AM   10      El Salvador instructed local clique members to elect two

          11      members to ensure that the rules of the East Coast Program

          12      would be followed?

          13      A.    I'd have to see my report, but I believe that was in

          14      reference to two clique members, two clique leaders

          15      representing all of the cliques operating in Massachusetts in

          16      the East Coast Program.

          17      Q.    So let me show you a document dated July 18, 2015 and ask

          18      you whether you recognize that document?

          19      A.    I do.

10:27AM   20      Q.    And does that refer to a conference call among Gorras,

          21      Sugar and others?

          22      A.    Yes.

          23      Q.    And this was a conference call, again, that CW-1

          24      participated in, correct?

          25      A.    Yes.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 65 of 161
                                                                                    5-65




           1      Q.    Mr. Sandoval was not part of this conference call,

           2      correct?

           3      A.    That is correct.

           4      Q.    And what you learned after this call was that the leaders

           5      in El Salvador wanted to set up a meeting to elect two members

           6      who would ensure that the rules of the East Coast Program would

           7      be followed, correct?

           8      A.    Yes.

           9      Q.    And that the two elected members would be in charge of all

10:28AM   10      of the Massachusetts MS cliques and tasked with enforcing the

          11      rules of the East Coast Program, correct?

          12      A.    They would be the East Coast Program representatives over

          13      the cliques here in Massachusetts.

          14      Q.    And CW-1 called Mr. Sandoval to tell him, right?

          15      A.    What's that?

          16      Q.    CW-1, after this call that he participated in from the big

          17      guys in El Salvador, called Mr. Sandoval to tell him about it,

          18      right?

          19      A.    Yes, it says that right there.

10:28AM   20      Q.    Right.   And eventually CW-1 did talk to Mr. Sandoval about

          21      it, correct?

          22      A.    Yes.

          23      Q.    And what he told CW-1 when they eventually did talk was

          24      that he was going to call a meeting to discuss the East Coast

          25      Program --
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 66 of 161
                                                                                     5-66




           1                MR. POHL:    Objection.

           2                THE COURT:    Sustained.

           3      Q.    What did CW-1 tell you Mr. Sandoval said about the East

           4      Coast Program?

           5                MR. POHL:    Objection.

           6                THE COURT:    Let me see you at sidebar.

           7                (THE FOLLOWING OCCURRED AT SIDEBAR:)

           8                THE COURT:    All right.    Now you're listening to your

           9      own client's statements as opposed to these calls.          The only

10:29AM   10      reason I'm allowing this at all was the idea was the government

          11      had learned, you know, this information.        That was the basis of

          12      their warning to him, but his opinions as stated by him out of

          13      court seem to me to be classic hearsay.

          14                MR. MURPHY:    Your Honor, I think, again, the

          15      government was allowed to elicit summary testimony over our

          16      objection.

          17                THE COURT:    I don't remember any summary testimony at

          18      all, but go on.

          19                MR. MURPHY:    And the agent was allowed to give a

10:30AM   20      generalized description of this dispute and what the ESLS

          21      clique's position was.      First they said they didn't want to

          22      join now, then they said they did, then they said they didn't,

          23      so all of that stuff has been the subject of testimony already

          24      as part, and I think, frankly, your Honor, the record will

          25      reflect that you said this was permissible summary testimony.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 67 of 161
                                                                                    5-67




           1                And so we need to be able to, having the door been

           2      opened, we need to be able to put in the details.

           3                THE COURT:    Why can't you do that without your own

           4      client's statements as to what his beliefs and intentions and

           5      opinions are, as opposed to the threat against him, which is

           6      just what the door was opened.       Again, you can call your

           7      client, obviously.

           8                MR. MURPHY:    I understand, your Honor.

           9                THE COURT:    Or you call someone else who, you know,

10:31AM   10      who has something that falls within the hearsay exception, but

          11      it seems to me, you know, here you're just eliciting your own

          12      client's statements that are, you know, that perhaps the whole

          13      thing is problematic from a hearsay standpoint, but this is

          14      another layer beyond that where you just, you know, the

          15      government can't cross-examine your client about these

          16      statements, and I don't think it's necessary for completeness

          17      under the circumstances, so I can also take it a question at a

          18      time, but this is just him stating his intentions or supposedly

          19      his opinions, and you are eliciting your own client's

10:32AM   20      statements, so I'm going to sustain the objection.

          21                MR. MURPHY:    Thank you.

          22                MR. POHL:    Thank you.

          23                (SIDEBAR CONFERENCE WAS CONCLUDED)

          24                THE COURT:    All right.    Let's put another question to

          25      the witness.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 68 of 161
                                                                                    5-68




           1      Q.    You testified on questions Friday, I believe, that -- let

           2      me ask you a different question.       Do you recall that on

           3      July 29, 2015, Mr. -- CW-1, Pelon, gave your team another

           4      briefing?

           5      A.    I'd have to see the report.      There was a lot of -- okay.

           6      Q.    And he reported about a meeting of the folks at that

           7      Norman Street Garage, correct?

           8      A.    Yes.

           9      Q.    And the subject of the meeting was that -- the dispute

10:33AM   10      between Mr. Sandoval and the leaders of MS-13 in El Salvador,

          11      correct?

          12      A.    Can you turn the page so I can continue reading, please?

          13      Q.    Absolutely, sir.

          14      A.    Okay.   I did review this, yes, but I did not write this

          15      report.

          16      Q.    Fair enough, sir.     Is it fair to say that you learned that

          17      the upshot of this meeting was that, at least for a time, the

          18      members of ESLS decided to -- that they would tell the leaders

          19      in El Salvador that they would be part of the ESLS -- they

10:34AM   20      would be part of the East Coast Program, but they didn't want

          21      them to have control of the clique?

          22      A.    Yes.

          23      Q.    And when you testified Friday about there was a time when

          24      they did join the East Coast Program, it was this that you

          25      referred to, correct?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 69 of 161
                                                                                        5-69




           1      A.    I was not referring to this one, no.

           2      Q.    Now, is it fair to say, sir, that on August 15th, Pelon

           3      conducted another controlled purchase of drugs from that

           4      individual named Flaco?

           5      A.    I would have to see the report, but we purchased a lot so

           6      I would say that we were purchasing drugs throughout the entire

           7      year, so Herzzon, we did purchase drugs from him in August.

           8      Q.    And if I show you a report dated August 6, 2015, does this

           9      concern a drug purchase on August 15th between Pelon and this

10:35AM   10      individual Flaco?

          11      A.    It appears so.       Yes, it does.    Yes.

          12      Q.    Flaco reported to Pelon about --

          13                   THE COURT:    I'm sorry, this says August 5th.       I think

          14      you said August 15th earlier, Mr. Murphy.

          15                   MR. MURPHY:    I'm sorry.     I meant to say August 5th,

          16      your Honor.

          17                   THE COURT:    Go ahead.

          18      Q.    So we're on August 5th, correct?

          19      A.    It was August 5th, yes.

10:35AM   20      Q.    And Pelon, CW-1, told you what he had heard from Flaco

          21      about what was happening in this dispute between the leaders in

          22      El Salvador and Mr. Sandoval, correct?

          23      A.    Yes.

          24      Q.    And what he told you was that El Salvador --

          25                   MR. POHL:    Objection.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 70 of 161
                                                                                    5-70




           1                   THE COURT:   Overruled.

           2      Q.    -- was now sending someone to discipline Casper and that's

           3      Mr. Sandoval, right?

           4      A.    I believe Special Agent Wallace was debriefing on this

           5      one, so reading this report, that's what it says.

           6      Q.    Now, you don't doubt that the report was accurate,

           7      correct?

           8      A.    No, I believe the report is accurate.

           9      Q.    Okay.    So we're not quibbling about whether that

10:36AM   10      report --

          11      A.    No, no.    I just want to make sure that --

          12      Q.    It's not your report?

          13      A.    It's not my report, yes, sir.

          14      Q.    Fair enough.    So what Flaco told CW-1 was that El Salvador

          15      was now sending someone to discipline Casper for not accepting

          16      the East Coast Program rules and he also said that that

          17      information came from a person named Donkey, correct?

          18      A.    Yes.

          19      Q.    Who is Donkey?

10:37AM   20      A.    He's a leader of MS-13.

          21      Q.    In El Salvador?

          22      A.    Yes, sir.

          23      Q.    Okay.    Now, between August 15th and September 3, 2015,

          24      things began to continue to escalate concerning this threat to

          25      Mr. Sandoval, correct?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 71 of 161
                                                                                     5-71




           1      A.    According to this, this is August 5th.        You said August

           2      15th again.

           3      Q.    I did, I apologize.      So between August 5th and

           4      September 3rd, this dispute continued to escalate, correct?

           5      A.    I believe it did.

           6      Q.    And it was on September 3, 2015 that you and several other

           7      officers went to warn Mr. Sandoval that his life was in danger,

           8      correct?

           9      A.    Yes.

10:37AM   10      Q.    And that was according to FBI policy, correct?

          11      A.    I don't know if it's policy, it's just the thing to do,

          12      the right thing to do.       If we get information that someone's

          13      life is in danger, we warn them.

          14      Q.    And even after that warning, you picked up information

          15      that this dispute continued, correct?

          16      A.    I believe so.

          17      Q.    And you intercepted conversations in which Mr. Sandoval

          18      told the leaders in El Salvador directly that he was not going

          19      to be participating in the East Coast Program, correct?

10:38AM   20      A.    I don't know.       I'd have to see reports on intercepted

          21      conversations between Mr. Sandoval and the East Coast leaders.

          22      I didn't have a Title III on his phone.

          23                   THE COURT:    Ladies and gentlemen, let me explain what

          24      a Title III is.     That's the reference to the section of the law

          25      that permits the government, under some circumstances, to
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 72 of 161
                                                                                    5-72




           1      intercept telephone calls, which requires a showing of probable

           2      cause and a court warrant, and it's called T3 or Title III.

           3      It's just kind of law enforcement jargon.         Go ahead.

           4      Q.    So let me show you a transcript summary that was completed

           5      on September 23, 2015.       Do you see that, sir?

           6      A.    I do.

           7      Q.    And it shows that the date and time of the recording was

           8      September 15th -- September 5, September 5, 2015, pardon me?

           9      A.    Yes, September 5, 2015 at 7:49 p.m.

10:39AM   10      Q.    And this describes a conversation that was -- that

          11      occurred between Pelon, whose phones you were recording,

          12      correct, CW-1, and others, correct?

          13      A.    Yes.

          14      Q.    And at that point CW-1 was giving instructions to

          15      Mr. Sandoval --

          16                   MR. POHL:    Objection.

          17      Q.    -- about how to deal with these folks in El Salvador --

          18                   MR. POHL:    Objection.

          19      Q.    -- that he had a direct line to, correct?

10:40AM   20                   THE COURT:    Sustained.

          21      Q.    Was CW-1 providing advice --

          22                   MR. POHL:    Objection.

          23      Q.    -- to Mr. Sandoval?

          24                   THE COURT:    I'll allow that.   Overruled.

          25      A.    All homeboys can give advice to the leaders of the gang,
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 73 of 161
                                                                                     5-73




           1      so, yes.   CW-1 offered advice.

           2      Q.    And what CW-1 advised Mr. Sandoval is to tell the leaders

           3      in El Salvador --

           4                 MR. POHL:    Objection.

           5                 THE COURT:    I'm sorry.   Let me see counsel.

           6                 (THE FOLLOWING OCCURRED AT SIDEBAR:)

           7                 THE COURT:    What's your objection to this piece of it

           8      as opposed to, you know, how we've gotten to this point?          In

           9      other words, what's different about this?

10:41AM   10                 MR. POHL:    Well, I think to the extent that it was

          11      allowed before, it was as a generalized way of completing -- I

          12      don't think it was an incomplete picture on direct or after

          13      Mr. Iovieno's cross, but to the extent that this was let out, I

          14      think we've sort of reached the end point of that.

          15                 We have, you know, the cooperating witness's

          16      conversation is with Casper, so whatever is coming next is

          17      going to be classic hearsay either through CW-1 or an attempt

          18      to elicit what Mr. Sandoval said in return and for the reasons

          19      we've set before, I don't think that's...

10:42AM   20                 THE COURT:    This is advice to Casper, okay, for

          21      whatever that's worth, CW-1 tells him that, Casper with the

          22      meetings --

          23                 MR. MURPHY:    I would be turning to the next page, your

          24      Honor.

          25                 THE COURT:    Well --
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 74 of 161
                                                                                       5-74




           1                MR. MURPHY:     Your Honor.

           2                THE COURT:    Yes.

           3                MR. MURPHY:     I would say that in addition to the

           4      arguments that I made before that this is not hearsay because I

           5      said before that it was not offered for the truth.          That's

           6      because it's offered to show Mr. Sandoval's state of mind.            It

           7      falls within the state of mind exception to the hearsay rule,

           8      your Honor.

           9                THE COURT:    Okay.     Casper's own statements are -- all

10:43AM   10      right.   Obviously CW-1's statements are hearsay, but the

          11      hearsay within hearsay, you're saying it's Casper's state of

          12      mind?

          13                MR. MURPHY:     CW-1's statements are also state of mind.

          14                THE COURT:    And just to be -- well, yes, I'm sorry,

          15      Ms. Lawrence.

          16                MS. LAWRENCE:     No.    I think, you know, to the extent

          17      the state of mind exception would apply, it would only have to

          18      apply to something that's overlooking gravity at this moment

          19      and not to prove the fact of the dispute.

10:44AM   20                THE COURT:    But it can be his future intention, it

          21      could be his state of mind.       All right.   One of the reasons I'm

          22      having trouble with this is I'm having also trouble seeing just

          23      how this hurts the government and so -- well, let's do this.           I

          24      haven't gotten down -- this far down the path.         I'm going to

          25      allow it here, and I'll allow you to elicit your client's
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 75 of 161
                                                                                    5-75




           1      statements to the extent that it is his current state of mind

           2      or his future intentions.

           3                   MR. MURPHY:    Your Honor, with respect to the

           4      beginning, the prelude?

           5                   THE COURT:    The prelude, I'll permit that.

           6                   (SIDEBAR CONFERENCE WAS CONCLUDED)

           7                   THE COURT:    Go ahead, Mr. Murphy.

           8      Q.    So, on the first paragraph, the highlighted paragraph,

           9      sir, that tells us the advice that CW-1 gave to Mr. Sandoval

10:45AM   10      about what he should tell the leaders of MS-13 down in

          11      El Salvador, correct?

          12      A.    Yes.

          13      Q.    And CW-1 advised Mr. Sandoval that Mr. Sandoval needs to

          14      calmly tell Gorras -- he was one of the leaders, right?

          15      A.    Yes.

          16      Q.    That they, as a clique, have all decided that continuing

          17      to be part of Gorras' program is not convenient for them

          18      because they cannot be responsible for all the things that take

          19      place down there and cannot deal with their consequences,

10:46AM   20      correct?     That's what he said?

          21      A.    That's a summary.      It's not verbatim, so, you know, as a

          22      summary, I would say that's what he's advising, but the

          23      specifics, we don't have a specific exact word for word

          24      verbatim translation here.

          25      Q.    Fair enough, sir, but this is a summary prepared by one of
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 76 of 161
                                                                                    5-76




           1      those linguists that you were talking about with Mr. Norkunas,

           2      right?

           3      A.    That is correct.

           4      Q.    She's flown in?

           5      A.    Actually, she's assigned to the Boston office, if you look

           6      at the front page.

           7      Q.    But she's here the whole time, correct?

           8      A.    Yes, sir.

           9      Q.    So it's an FBI linguist summary of a tape recording that

10:46AM   10      the FBI made?

          11      A.    That is correct, sir.

          12      Q.    And as part of this advice, CW-1 told Mr. Sandoval to say,

          13      to tell them, for them down there, it's easy to kill and it's

          14      easy to collect but not here, correct?

          15      A.    Yes, that is correct.

          16      Q.    And, in fact, Mr. Sandoval did have a conversation with

          17      these individuals in El Salvador, correct?

          18      A.    Further down it looks like there is a conversation.

          19      Q.    And these are the ones who you believe had threatened to

10:47AM   20      kill him, correct?

          21      A.    Well, when it says they talked to Chuba, I'm not sure

          22      there, but, yes.

          23      Q.    And in that conversation, Mr. Sandoval told an individual

          24      named Suga -- do you know whether that's Suga or whether that's

          25      simply a mistranslation?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 77 of 161
                                                                                     5-77




           1      A.    It could very well be, yes.

           2      Q.    You don't know a person name Chuga, C-h-u-g-a, in

           3      El Salvador's leadership?

           4      A.    Is it C-h-u-b-a?

           5      Q.    It's C-h-u-g-a in this, or b-a in this one.

           6      A.    I think it's b-a from what I'm reading -- oh.         And then

           7      there's another one where it says C-h-u-g-a.         I would believe

           8      that's Suga.

           9      Q.    Okay.    So that's one of the leaders in El Salvador?

10:48AM   10      A.    Correct.

          11      Q.    And Mr. Sandoval tells Suga that his clique is not going

          12      to continue with the Program or being part of it at all,

          13      correct?

          14      A.    Yes.

          15      Q.    That his clique cannot find common ground with the

          16      Program?

          17      A.    That is correct.

          18      Q.    And that they're not going to continue to be part of the

          19      Program and there's nothing that says they have to, correct?

10:48AM   20      A.    That's correct.

          21      Q.    And Suga told Mr. Sandoval that the barrio is the one who

          22      will be making decisions for ESLS and not Casper and his

          23      members, correct?

          24      A.    He does say that, yes.

          25      Q.    And what's the barrio?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 78 of 161
                                                                                    5-78




           1      A.    That's MS-13.

           2      Q.    Now, you testified about a beating that took place in

           3      December, 2015.    Do you recall that, sir?

           4      A.    Was it December or January?

           5      Q.    Let me ask you.     This was a meeting that took place in

           6      Virginia, sir.    Do you recall testifying about that?

           7      A.    Oh, the East Coast Program leader meeting?

           8      Q.    Yes.

           9      A.    Yes.

10:49AM   10      Q.    So, I will try to shortcut this.       What happened is that an

          11      individual named Demente, correct, another clique leader?

          12      A.    Yes.

          13      Q.    Not part of ESLS?

          14      A.    No, he's not with ESLS.

          15      Q.    Was asked to give -- asked CW-1 to give him a ride down to

          16      this meeting in the Maryland-Virginia area, correct?

          17      A.    Yes.

          18      Q.    And they went to Maryland first, correct?

          19      A.    Yes.

10:50AM   20      Q.    To a couple different locations there, correct?

          21      A.    Yes.

          22      Q.    And they ended up in Richmond, Virginia, correct?

          23      A.    They did.

          24      Q.    And that was a meeting that was led by an individual named

          25      Chucky, correct?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 79 of 161
                                                                                    5-79




           1      A.    Chucky.

           2      Q.    Chucky?

           3      A.    Correct.

           4      Q.    And Chucky was the leader of the East Coast Program,

           5      correct?

           6      A.    In the United States, yes.

           7      Q.    And before Chucky permitted CW-1 to come into the meeting,

           8      he had to make a call to El Salvador to make sure that someone

           9      in El Salvador would vouch for Pelon, correct, for CW-1?

10:50AM   10      A.    I believe that is correct.

          11      Q.    And during -- it was a long meeting, correct?

          12      A.    Yes, it was.

          13      Q.    And during that meeting, there was a discussion that

          14      specifically focused on Mr. Sandoval; isn't that correct?

          15      A.    Yes, I believe so.

          16      Q.    And there is a transcript of that meeting, correct?

          17      A.    Yes, sir.

          18      Q.    And showing you a document on the screen, do you recognize

          19      that as a transcript of that meeting?

10:51AM   20      A.    Yes.    Is it an excerpt?    It's an excerpt of the

          21      transcript, though.

          22      Q.    Again, prepared by the government, correct?

          23      A.    Yes, sir.

          24                   MR. MURPHY:   Your Honor, with the Court's permission,

          25      I'd like to mark this now for identification.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 80 of 161
                                                                                     5-80




           1                   THE COURT:    For identification?   All right.   What's

           2      the number?

           3                   THE CLERK:    Judge, the next number would be 225.

           4                   THE COURT:    225.   225 for identification.

           5                   (Exhibit 225 was marked for identification.)

           6      Q.    And that contains several passages that relate directly to

           7      Mr. Sandoval, correct?

           8      A.    I believe it does, yes.

           9      Q.    And if we turn to page 11.

10:52AM   10      A.    Yes.

          11      Q.    Does that part of the transcript --

          12                   THE COURT:    Hold on.   Are we showing this to the jury?

          13                   THE CLERK:    No.

          14                   THE COURT:    This is not in evidence.

          15                   MR. MURPHY:    It shouldn't be.

          16                   THE COURT:    Did you take it -- okay.   Go ahead.

          17      Q.    Does that part of the document -- it says verbatim at

          18      10:03:07, does that relate at page 11 moving onto page 12 to a

          19      conversation about Mr. Sandoval?

10:52AM   20      A.    Well, I know they were talking about Mr. Sandoval, yes.

          21      Q.    And if we turn to page 29, does that show additional

          22      conversation about Mr. Sandoval?

          23      A.    It doesn't start off, it just says -- the question is

          24      asked "What's happening?"         And they ask the CW-1 what's

          25      happening, so you'd have to go forward where they start talking
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 81 of 161
                                                                                      5-81




           1      about your client, sir.

           2      Q.     But on the next page, on page 30, they do, correct?

           3      A.     Yes.

           4                    MR. MURPHY:    If I may approach, your Honor?

           5                    THE COURT:    Yes.

           6      Q.     Let me show you a three-page document, Special Agent Wood,

           7      and ask you whether that's an excerpt of a longer excerpt that

           8      we've been looking at that was marked as an exhibit for

           9      identification that contains those passages that we just looked

10:53AM   10      at on the document marked for identification relating to the

          11      discussion of Mr. Sandoval?

          12      A.     Yes, it appears to be exactly that.

          13                    MR. MURPHY:    May we offer this as an exhibit?

          14                    MR. POHL:    Objection.

          15                    THE COURT:    Can I see it?   All right.   I'll admit it.

          16      226.

          17                    (Exhibit No. 226 received into evidence.)

          18                    MR. MURPHY:    May I approach, your Honor?

          19                    THE COURT:    Yes.

10:55AM   20                    MR. MURPHY:    I'm going to put it up on the document

          21      camera.

          22      Q.     So when you were reading transcripts with Mr. Pohl, you

          23      were taking the position of CW-1; is that correct?

          24      A.     Yes, sir.

          25      Q.     So why don't we do the same, and if we could read this
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 82 of 161
                                                                                     5-82




           1      transcript together.

           2                  MR. MURPHY:     The jury does not have this, your Honor,

           3      but I would propose to, now that it's been admitted, to submit

           4      it to be part of the jury's evidence binder.

           5                  THE COURT:    Well, I don't know how we're going to do

           6      that, but can they see it now?

           7                  MR. MURPHY:     Yes.

           8                  THE COURT:    All right.   We'll talk about that later.

           9      Go ahead.

10:56AM   10      Q.    So at 1:03:07, Chucky, he's the leader of the East Coast

          11      Program in the United States, correct?

          12      A.    Yes, sir.

          13      Q.    He says, "How many cliques are there organized in the

          14      sector which work together?        Some?   Is there Mara there?"

          15                  And then Demente -- who's Demente?

          16      A.    Demente is the leader of the Molinos.

          17      Q.    It's another Boston area clique?

          18      A.    It's the United States clique.

          19      Q.    Okay.   Not ESLS, correct?

10:56AM   20      A.    That's correct.

          21      Q.    Demente says, "No, because how many times have they had

          22      you pay?"

          23                  Chucky:    "Nothing, no one from that sector."

          24                  Demente:     "Well, me, we were looking, I made them see

          25      before, well, yes, but there --"
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 83 of 161
                                                                                       5-83




           1                  Chucky:      "And how is it there with your clique?"

           2      A.      CW-1:   "No, man, the main leader was pushing us down.        You

           3      know, what I mean?        He was like --- I'm being honest."

           4      Q.      Chucky:   "The old guy?"

           5      A.      CW-1: "Yeah, man."

           6      Q.      Chucky:   "Who was this guy?"

           7      A.      CW-1:   "Casper."

           8      Q.      Chucky: "And why don't you kill him?      Why don't you get

           9      together?"

10:57AM   10      A.      CW-1:   "Well, that is the plan we have right now since

          11      we're like only about 30, but we are all older.          We are

          12      planning, like some seven homeboys who are the ones who

          13      coordinate."

          14      Q.      Chucky:   "You are all older."

          15      A.      CW-1:   "Yes."

          16      Q.      Chucky:   "So why haven't you?"    Chucky:   "Why don't you

          17      all get together, the ones who are willing to meet this

          18      challenge, because that guy is making your clique look bad, you

          19      can?"

10:57AM   20      A.      CW-1:   "Yes, that's what we are talking about.      That's why

          21      I am here, man, to face things.        You know what I mean?      To see

          22      what (unintelligible.)        Because the thing is that the guy, he

          23      is saying he is here, but he doesn't run with anyone, you know?

          24      That's it.      He will be independent.    So what happens then?

          25      That we --"
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 84 of 161
                                                                                      5-84




           1      Q.    Demente:    "That's why I say we have to bring this guy so

           2      he can face things."       Chucky:   "Okay, if you are willing to

           3      represent your clique and see what's up or to organize with

           4      homeboys who want to and tell them, look, homeboy, that's

           5      really not good."

           6                   Demente:    "But Mamia."

           7                   Now, who's Mamia?

           8      A.    A leader from a different clique in the East Coast

           9      Program.

10:58AM   10      Q.    "Take him out."

          11                   Chucky:    "You, yourself, can come."

          12                   Demente:    "But this is very dangerous for these

          13      homeboys."

          14                   Now, later in the meeting in the transcript that was

          15      marked for identification, there's another discussion about

          16      Mr. Sandoval, correct?

          17      A.    Yes, sir.

          18      Q.    And that's summarized here, that's excerpted here, I

          19      should say?

10:58AM   20      A.    Yes.

          21      Q.    And if we could read the parts as before.        Suga, he's the

          22      person we were talking about before, correct?

          23      A.    Yes.

          24      Q.    The leader in El Salvador?

          25      A.    Correct.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 85 of 161
                                                                                        5-85




           1      Q.    They got him on the phone?

           2      A.    Yes.

           3      Q.    "We're going to do something, but right now I want to talk

           4      to these dudes in the Eastside Program.        What's happening,

           5      Pelon?"

           6      A.    CW-1:   "Not much, doggie."

           7      Q.    Suga:   "When you go back to your homeboys."

           8      A.    CW-1: "That's right.     I'm going there."

           9      Q.    Suga:   "I want you to meet with your people, brother so

10:59AM   10      that they don't come here, you know the reality of your clique,

          11      brother, because your clique doesn't, you know, and I don't

          12      know why the homeboys?"

          13      Q.    CW-1:   "Suga, you know the whole thing with Casper.         This

          14      is (redacted.)    What was I told?     (Unintelligible.)     Me and

          15      Muerto, but we had to (unintelligible.)        So now we are

          16      planning, me, Muerto and Caballo, we're seniors and we're going

          17      to be Eastside, but we're going to be like two groups, because

          18      we're going to, they never support us here.         You know how those

          19      dudes are."

10:59AM   20      Q.    Now, in that transcript that we just saw, CW-1 said he was

          21      going to kill Mr. Sandoval, correct?

          22      A.    He never said that he was going to kill your client, sir.

          23      I think he says that's what we're planning.

          24      Q.    Oh, that's what we're talking about?

          25      A.    Yes.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 86 of 161
                                                                                    5-86




           1      Q.    Okay.    So CW-1 was talking about killing Mr. Sandoval?

           2      A.    In this report, yes, or in this transcript.

           3      Q.    Now, let me turn to a number of different subjects.

           4      Number 1, you testified a few moments ago about these

           5      protection details, correct?

           6      A.    Yes.

           7      Q.    And you said the protection details offered people who

           8      were -- offered people the opportunity to volunteer to

           9      participate in a drug transaction, correct?

11:00AM   10      A.    Yes.

          11      Q.    Pelon gave that opportunity to volunteer to Mr. Sandoval,

          12      correct?

          13      A.    He did.

          14      Q.    Mr. Sandoval said no, correct?

          15      A.    I believe that is correct.

          16      Q.    Now, it's true, isn't it, that sometimes cliques commit

          17      crimes as a group for the benefit of the group, correct?

          18      A.    Yes, sometimes cliques do commit crimes that benefit the

          19      whole group.

11:01AM   20      Q.    So, for example, the Everett clique, you learned in the

          21      course of this investigation, has some of its members with

          22      selling marijuana, which was a group clique project, correct?

          23      A.    Yes.

          24      Q.    And the money from that clique, the money that were

          25      received from selling marijuana became clique money, correct?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 87 of 161
                                                                                     5-87




           1      A.    Yes.

           2      Q.    Okay.   But you learned in the course of your investigation

           3      that sometimes clique members or associates freelanced,

           4      correct?

           5      A.    I'm not sure.    Do you mean that -- can you rephrase that

           6      because I'm not quite sure what you mean by the freelancing

           7      aspect.

           8      Q.    Sure.   So, sometimes people who were members of cliques or

           9      were associated with cliques would commit crimes on their own

11:02AM   10      without the knowledge or permission of the clique's leaders,

          11      correct?

          12      A.    Cliques would commit -- clique members could commit

          13      crimes, but the clique would find out about it.          They may not

          14      know beforehand, but they discussed crimes that would occur

          15      depending on the type of crime.

          16      Q.    Okay.   Well, let me give you a specific example, sir.        Did

          17      you learn in the course of your investigation that there was an

          18      individual named Clacker, correct, right, who was associated

          19      with the Enfermos clique in Boston?

11:02AM   20      A.    Yes.

          21      Q.    And did you learn that in the winter of 2014 and '15

          22      Clacker and others committed between 30 and 40 armed robberies

          23      of gypsy cab drivers, stealing money and cell phones and

          24      sharing money with their accomplices, but they did that without

          25      the knowledge of the clique itself?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 88 of 161
                                                                                     5-88




           1      A.    I would disagree with how you're phrasing that.         I don't

           2      know if that number is completely accurate, and I would also

           3      say at the point that those robberies were occurring -- at that

           4      point, most of the Enfermos were already arrested, Clacker were

           5      not, so it would be very hard for Clacker to tell his clique

           6      what he had been doing in 2014.

           7      Q.    Well, let's see if we can break that down.         Clacker was

           8      affiliated with the Enfermos clique, correct?

           9      A.    Yes, sir.

11:03AM   10      Q.    And the leader of the Clacker's clique was in jail,

          11      correct?

          12      A.    Yes, sir.

          13      Q.    But somebody else was designated as the leader when he was

          14      not, correct?

          15      A.    Yes.    Well, no, Tremendo was still the leader, but there

          16      was also another leader.

          17      Q.    An acting leader?

          18      A.    Yes, that be would fine to say.

          19      Q.    And it was Clacker who told you about these 30 or 40 armed

11:04AM   20      robberies of gypsy cab drivers that he committed with others,

          21      correct?

          22      A.    Yes, he told us that he was committing robberies, but the

          23      questions were asked where he said, "How many did you do?"         And

          24      he said, "I did several."

          25                   "Well, how many?"   "I don't know."
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 89 of 161
                                                                                        5-89




           1                "Would it be fair to say 7?"       "Yes."

           2                "Would it be fair to say 10?"       "Yes."

           3                "Would it be fair to says 15?"       "Yes."

           4                So he didn't really know, and he just agreed to make

           5      it say 30, 40, but I would believe that it was actually less

           6      than that.

           7      Q.    Clacker testified in the grand jury that it was between 30

           8      and 40, correct?

           9      A.    I didn't read his testimony, so I don't know what he

11:04AM   10      actually testified.     When we asked him what he had done, he

          11      agreed to that number.      Again, as I said, I think he

          12      overestimated.    I don't believe it, but that's what we put on

          13      the record, 30 to 40.

          14      Q.    So I'm going to try to see if I understand that.            Clacker

          15      told you about these armed robberies of gypsy cab drivers that

          16      he and others had committed, correct?

          17      A.    Yes, sir.

          18      Q.    You put on the record, as you say, that it was between 30

          19      and 40, correct?

11:05AM   20      A.    Yes, because he didn't fully remember, and he just kept

          21      agreeing to the number that was asked him, so we said, okay,

          22      that's what he thinks, we're going to go with that.          As I said,

          23      personally, I think it's lower than that, but that's what we

          24      had him finally say, yes, I think it's 30 to 40, so we're going

          25      to go with 30 to 40.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 90 of 161
                                                                                    5-90




           1      Q.    You weren't there, correct?

           2      A.    No.

           3      Q.    Clacker was?

           4      A.    At the robberies?

           5      Q.    Yes.

           6      A.    Yes.

           7      Q.    And is it your experience, sir, that people who are

           8      talking to the FBI typically inflate the number of crimes they

           9      committed rather than minimize them?

11:05AM   10      A.    I have found some people are very truthful and admit to

          11      everything.    I found some people try and bolster who they are.

          12      I find that people also limit or try and hide what they've

          13      done, so I've seen it range from underestimating to

          14      overestimating.

          15      Q.    And I take it you don't know what Chucky testified in the

          16      grand jury about whether any clique members knew what he was

          17      doing?

          18      A.    I don't know, no.

          19      Q.    Because you've never read his grand jury under oath,

          20      correct?

          21      A.    I have not, no.

          22      Q.    Were there any reports that were written about this

          23      interview of Chucky where -- I'm sorry, of Clacker, where he

          24      said might have been 5, might have been 10, might have been 7,

          25      might have been 30, might have been 40?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 91 of 161
                                                                                    5-91




           1      A.    I know -- I believe a report was written.        I didn't read

           2      that report.    I can remember I was driving home from Virginia

           3      from that meeting when I was called and said this is what we

           4      just found out from Clacker, and I remember that's how I was

           5      told the conversation went with trying to figure out how many

           6      he had committed.

           7      Q.    And who was that call from, sir?

           8      A.    That was either from Special Agent Wallace or

           9      Sergeant Millett.

11:07AM   10      Q.    And do you know of your own personal knowledge whether

          11      either of them ever wrote a report about this meeting you're

          12      describing?

          13      A.    I believe Special Agent Wallace would have written a

          14      report.

          15      Q.    But you have not read it?

          16      A.    If the report was generated, no, I've not read it.

          17      Q.    And did you ever talk to Clacker personally about whether

          18      it was 5 or 10 or 15 or 20 or 30 or 40?

          19      A.    I have not spoken directly to him, no, sir.

11:07AM   20      Q.    Now, when CW-1 was out there working for the FBI, the FBI

          21      recorded the calls on one of his phones, correct?

          22      A.    Yes.

          23      Q.    But he had two phones, correct?

          24      A.    Yes, sir.

          25      Q.    Why was he given two phones?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 92 of 161
                                                                                    5-92




           1      A.     We didn't give him two phones.      He had his phone and then

           2      we had his other phone.

           3      Q.     Okay.   You didn't record the calls on the second phone,

           4      correct?

           5      A.     Yes, that's correct.

           6      Q.     You had something called a pen register on that, correct?

           7      A.     I believe we had a pen register on both phones, but I'd

           8      have to go back to review and see if we had pen registers on

           9      both phones or just the one.

11:08AM   10      Q.     And a pen register, if you did have it on the second

          11      phone, that does not allow you to record the contents of any

          12      conversations between someone who calls CW-1 and CW-1, correct?

          13      A.     That is correct, yes.

          14      Q.     It tells you the numbers that are called in and the

          15      numbers that he calls out, correct?

          16      A.     It breaks it down by the date, the time, you know, on this

          17      date, this time this phone call was either made or incoming,

          18      yes.

          19      Q.     But it looks more or less, not exactly, but more or less

11:09AM   20      like a detailed cell phone bill like we used to get in the old

          21      days, right, with all the numbers that we called?

          22      A.     Yes.

          23      Q.     And unless you looked and checked to see who CW-1 was

          24      talking with on his second line, you wouldn't know who he was

          25      talking to, correct?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 93 of 161
                                                                                     5-93




           1      A.    Yes, that's absolutely correct.

           2      Q.    And do you recall ever doing that during the course of the

           3      investigation?

           4      A.    No, I wasn't checking the phone logs, other people were.

           5      Q.    Now, the in-person meetings that CW-1 recorded, he had to

           6      tell you about those, correct?

           7      A.    Yes.

           8      Q.    So he would be the one who would alert you to a meeting

           9      that he thought should be recorded, correct?

11:09AM   10      A.    No, he would alert us to -- on having a meeting or having

          11      been called to a meeting or I'm going to meet so and so, and at

          12      that point we'd say, okay, let's get this recorded.

          13      Q.    But you were relying on him to tell you when there were

          14      meetings, correct?

          15      A.    Yes.

          16      Q.    And if he didn't tell you about a meeting, you'd never

          17      know about it?

          18      A.    Odds are that would be absolutely correct, yes.

          19      Q.    Now, the conversations that we've seen that were tape

11:10AM   20      recorded in his car, he had the authority -- he had the ability

          21      to turn that recorder on and off, correct?

          22      A.    Yes.

          23      Q.    You had a kill switch that could turn that car off

          24      remotely, correct?

          25      A.    That was only during the protection details.         We didn't
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 94 of 161
                                                                                    5-94




           1      kill switch his case, just the car that was used for the

           2      protection details.

           3      Q.    Fair enough, sir.     But he had control over the tape

           4      recording equipment in his car, correct?

           5      A.    At the end of the investigation, yes.        In the initial, no.

           6      We turned it on and off and then due to the amount of times he

           7      was meeting people, we showed him how to work it so he could

           8      turn it on.

           9      Q.    But you didn't turn it on and off remotely, correct?

11:11AM   10      A.    You can't turn it off and on remotely, no, sir.

          11      Q.    So even earlier in the investigation when it required the

          12      FBI to turn it on, he had to bring the car to a designated

          13      location and you turned it on then, correct?

          14      A.    We would install the recorder for those meetings because

          15      yes, as I told you, when the procedures we talked about last

          16      week, that be would part of the procedure.

          17      Q.    So Mr. -- CW-1, it's fair to say, had lots of

          18      conversations with lots of people in and out of the car that

          19      the FBI did not record, correct?

11:11AM   20      A.    Oh, absolutely, yes.

          21      Q.    And it was essentially his decision about what the FBI

          22      would record and not?

          23      A.    No, it was not his decision like that, the way you phrased

          24      it, no, sir.

          25      Q.    But if he didn't tell you about a meeting or a -- if he
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 95 of 161
                                                                                     5-95




           1      didn't tell you about a meeting, you wouldn't know to record

           2      it?

           3      A.      Yes, that's correct.

           4      Q.      Now, as part of your investigation in this matter, did you

           5      look into a stabbing that took place on May 12, 2015 near

           6      Highland Park in Chelsea?

           7      A.      Yes.

           8      Q.      Tell us what you did to investigate that stabbing, sir.

           9      A.      We interviewed the CW.

11:12AM   10      Q.      Did you do anything else, sir?

          11      A.      I believe we got the reports from the stabbing.

          12      Q.      Was a person named Miner Ochre the victim of that

          13      stabbing?

          14      A.      I can't remember the victim of the stabbing at this point.

          15      I'd have to see the reports to see.

          16      Q.      What did you learn in the course of your investigation

          17      about the circumstances of that stabbing, sir?

          18      A.      If I remember correctly, an MS member had seen 18th

          19      Street, he called for backup, people came in, one of the MS

11:13AM   20      members stabbed the kid, and then they all fled the area.

          21      Q.      So who was the MS member that first saw the 18th Street

          22      people, as you understand it in your investigation?

          23                     MR. POHL:    Objection.

          24                     THE COURT:    I don't know how he could testify about

          25      this.    Well, sustained.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 96 of 161
                                                                                       5-96




           1      Q.    Do you know, sir?

           2                 MR. POHL:    Objection.

           3                 THE COURT:    Sustained.

           4      Q.    Now, you testified on direct examination about the

           5      Trenton Street homicide of Irvin De Paz that was committed by

           6      the individual you've identified as Animal, correct?

           7      A.    Yes, sir.

           8      Q.    At the time of Mr. De Paz's stabbing, Animal was not then

           9      associated with ESLS, correct?

11:13AM   10      A.    That is correct.

          11      Q.    But he did know CW-1, correct?

          12      A.    I don't know when he first met him, but, yes, he at some

          13      point did become familiar with CW-1.

          14                 MR. MURPHY:    If I could ask for Exhibit 103, the

          15      transcript.

          16                 THE COURT:    I'm sorry, is this in evidence?

          17                 MR. POHL:    It is in evidence, your Honor.

          18                 THE COURT:    Okay.   Go ahead.

          19      Q.    So this is the conversation that we saw on tape earlier,

11:14AM   20      correct?

          21      A.    Yes, sir.

          22      Q.    And it's between Animal and CW-1, correct?

          23      A.    Yes, but I believe there were at least or two other people

          24      in the back of the, car and I don't believe they were speaking

          25      during this portion -- well, no, one did.         David spoke, but
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 97 of 161
                                                                                    5-97




           1      yes.

           2      Q.      So none of these defendants were in the back of the car?

           3      A.      That is absolutely correct, sir.

           4      Q.      And CW-1 says about two-thirds of the way down the page,

           5      "And, hey, you just didn't take down anyone," correct?

           6      A.      That is correct.

           7      Q.      And Animal says, "No, a major culero," correct?

           8      A.      Correct.

           9      Q.      And what does CW-1 say next?

11:15AM   10      A.      "A major culero, I had already smashed his head, dude,"

          11      didn't they tell you how -- or, "didn't they tell you?"

          12      Q.      And that's Pelon CW-1 saying that he had already smashed

          13      Mr. De Paz's head, correct?

          14      A.      Yes.

          15      Q.      And if we turn to page 2, I think the fifth line, The

          16      fifth entry down, Animal says, "He could never stop me, the

          17      culero, and whenever he would see me, he would immediately

          18      run."

          19                     And then CW-1 says, could you read that, please?

11:16AM   20      A.      "Scooby and I asked Snoopy.    I gave him a fucking beating

          21      with Snoopy."

          22      Q.      And does he later say that he hit him with a bat in this

          23      conversation?

          24      A.      Yes.

          25      Q.      And that was CW-1 talking, correct?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 98 of 161
                                                                                     5-98




           1      A.    Yes, sir.

           2      Q.    And those were not activities that were authorized by the

           3      FBI, correct?

           4      A.    I don't believe those activities took place.         I think he's

           5      using the cover right now to make himself look good in front of

           6      Animal.

           7      Q.    And how do you know that, sir?

           8      A.    Because I would've believe we would have found a report

           9      saying that people hit this kid with a baseball bat, and I

11:17AM   10      don't remember ever having a report or seeing a report saying

          11      that this kid had been hit in the head with a baseball bat.

          12      Q.    Did you confront CW-1 about it?

          13      A.    Not at all.

          14      Q.    You didn't say how come you're bragging about hitting this

          15      kid with a baseball bat?

          16      A.    Not at all.

          17      Q.    Because you were confident, sir, that this was just a

          18      cover story, correct?

          19      A.    Yes.

11:17AM   20      Q.    Did you have any reason to believe that CW-1 was doing

          21      things like this in circumstances where it was not a cover

          22      story?

          23      A.    No.

          24      Q.    To this day?

          25      A.    To this day, I know of things that occurred, but then when
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 99 of 161
                                                                                     5-99




           1      you were asking me, no.       I wasn't aware of anything in

           2      September of 2015.

           3      Q.    So whatever CW-1 was or was not doing in September 2015

           4      that was not authorized by the FBI, you didn't know about?

           5                   MR. POHL:    Objection.

           6                   THE COURT:    I'm not sure I follow the question.    Let's

           7      start there.     Rephrase.

           8      Q.    You since learned about some things that CW-1 was doing --

           9                   MR. POHL:    Objection.

11:18AM   10      Q.    -- that were unauthorized by the FBI?

          11                   THE COURT:    I'll allow that.   Yes or no.

          12      A.    Yes.

          13      Q.    But whatever those things were, you didn't know about them

          14      back in September of 2015?

          15      A.    That is correct.

          16      Q.    When CW-1 made the statements on this tape, correct?

          17      A.    That is correct.

          18      Q.    Now, you testified on direct examination about the reasons

          19      why Animal was not arrested after November 2nd, when he

11:18AM   20      confessed on tape?

          21      A.    Yes.

          22      Q.    Now, one of the reasons you gave was that you were

          23      concerned about the safety of CW-1 and his family, six

          24      individuals here and another 12 in El Salvador?

          25      A.    Give or take that number, yes.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 100 of 161
                                                                                     5-100




           1      Q.      Isn't it fair to say, sir, that the government controlled

           2      the timing of when that relocation process would begin?

           3      A.      Not at all.

           4      Q.      You couldn't have done that before?

           5      A.      No.

           6      Q.      Why not, sir?

           7      A.      Because when this fell in our lap, we weren't prepared and

           8      we weren't prepared to bring his family into the country.

           9      Q.      Well, you could have located them as soon as he started

11:19AM   10      cooperating back in 2014 and 2013, correct?

          11      A.      I don't think we could have.

          12      Q.      Because he hadn't done enough to justify that effort, is

          13      that your testimony?

          14      A.      I'm not saying that, either.     I'm just saying we weren't

          15      sure.    In 2013, this was brand new.      We didn't know what was

          16      going on to say what we can and can't do for someone.

          17      Q.      You knew, sir, that in November 2015 the Boston Police had

          18      located a witness who had information about the stabbing,

          19      correct?

11:19AM   20      A.      I believe that is correct.

          21      Q.      And is it fair to say that if you had wanted to, you could

          22      have given the Boston Police Department a photograph of

          23      Mr. Martinez and said why don't you put this photograph in a

          24      photo array, a photo lineup, and show it to your witness?          Did

          25      you think about doing that, sir?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 101 of 161
                                                                                     5-101




           1      A.    I wasn't aware of -- and no.

           2      Q.    You had a photo of Mr. Martinez, correct?

           3      A.    We did, yes.

           4      Q.    And you knew the Boston Police Department was working the

           5      case as an active homicide investigation, correct?

           6      A.    We did, yes.

           7      Q.    And you knew they had a witness?

           8      A.    I wasn't aware of them having a witness to show a photo

           9      array to, no.

11:20AM   10      Q.    Did you know that they had already showed a photo array

          11      with a different suspect to the witness?

          12      A.    I wasn't a part of that investigation to know what they

          13      were and weren't doing at the time.        I knew they were

          14      investigating a homicide.

          15      Q.    And there were no Boston Police Officers assigned to your

          16      task force back in November 2015, correct?

          17      A.    Not from the homicide unit, but we have a Boston Detective

          18      assigned to the task force.

          19      Q.    You said that one of the reasons you wanted to bring

11:21AM   20      Animal -- you wanted Pelon, CW-1, to bring Animal back to

          21      Boston so he'd be close when the big take down occurred,

          22      correct?

          23      A.    Yes, we wanted to know where he was and we didn't have a

          24      good solid working knowledge of where he was located in Newark,

          25      New Jersey.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 102 of 161
                                                                                      5-102




           1      Q.    Well, CW-1 was in contact with him by phone, correct?

           2      A.    Yes.

           3      Q.    And CW-1 went down to visit him, correct?

           4      A.    Yes.

           5      Q.    So CW-1 knew where he lived and how to find him?

           6      A.    Well, he had an idea of where he lived, but it doesn't

           7      mean that we had solid proof that this is, you know, the exact

           8      house he's living in.      We had an idea, but we weren't sure, but

           9      if we had him here, we would know exactly where he would be.

11:22AM   10      Q.    Now, it's true, isn't it, that there are FBI offices all

          11      around the country?

          12      A.    Yes.

          13      Q.    And pretty much every day all around the country, FBI

          14      agents from one district arrest people on warrants issued by

          15      other districts, correct?

          16      A.    That does occur.     I don't know if it's every single day,

          17      but, yes, we do make arrests for other field offices around the

          18      country.

          19      Q.    And there's an office in the Newark area, correct?

11:22AM   20      A.    There is a Newark office, yes.

          21      Q.    Now, you said you wanted to know where Animal was.           When

          22      you brought him back here -- and it was Pelon who brought him

          23      back here, CW-1, correct?

          24      A.    Yes, we directed the CW to go down and pick him up and

          25      bring him back.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 103 of 161
                                                                                     5-103




           1      Q.      Did you take any steps to monitor his whereabouts?

           2      A.      We were doing our best at that time to monitor everyone we

           3      were planning to arrest and their whereabouts.

           4      Q.      And were you conducting surveillance on Animal?

           5      A.      We were going out and looking at all the addresses where

           6      all of the defendants were residing so we could try and put

           7      them, as we call, to bed.       That way when we go and hit the

           8      houses in the morning, we're hitting the right house.

           9      Q.      But you weren't conducting surveillance in the sense of

11:23AM   10      following him around, right?

          11      A.      No.

          12      Q.      And did you give the Boston Police a heads-up that he was

          13      back?

          14      A.      I don't remember if we told them that he was back or not.

          15      Q.      Now, I think you volunteered in response to -- I think it

          16      was Mr. Iovieno's questions that December 2015 and January 2016

          17      was the most stressful time of your professional career?

          18      A.      Started in November, yes.

          19      Q.      And part of the work was the work necessary to charge the

11:23AM   20      defendants?

          21      A.      Part of that was the work to charge, part of that was what

          22      we had going on, part of that was the fact that my boss was

          23      leaving and so I didn't have a supervisor and I was doing his

          24      job and my job at that time.

          25      Q.      Part of it was dealing with the relocation of CW-1 and his
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 104 of 161
                                                                                     5-104




           1      family?

           2      A.    Absolutely.

           3      Q.    You were preparing search warrants and arrest warrants,

           4      correct?

           5      A.    We were in the grand jury, so the indictment would have

           6      granted the arrest warrants, but we were also seeking search

           7      warrants.

           8      Q.    Now, was there any other significant event relating to the

           9      case that was causing you stress in that period, sir?

11:24AM   10      A.    You'd have to be specific to say what was causing me

          11      stress.

          12      Q.    I mean, can you think of anything as you sit here today,

          13      anything else that was major going on in the investigation that

          14      contributed to the stress that you volunteered?

          15      A.    Just the whole 9 yards of everything getting ready.          We

          16      were trying to indict, we were trying to make sure we kept the

          17      community safe.

          18                  We had meetings that occurred, and each time we had a

          19      meeting, we didn't have a transmitter so we couldn't listen

11:25AM   20      realtime what was going on in the meetings, and I know that

          21      MS-13 members have killed other members they suspect of

          22      cooperating with law enforcement at these meetings, so you're

          23      always concerned will they find the recorder on the CW, will

          24      they kill him in that meeting, and we won't know, we won't be

          25      able to go in there and try and save him because I have
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 105 of 161
                                                                                     5-105




           1      participated in meetings where things go wrong, not in this

           2      case, but in other cases where we have to come in and save

           3      either a CW or an undercover.       So all those things at once was

           4      very stressful.

           5                 MR. MURPHY:    May I approach, your Honor?

           6                 THE COURT:    Yes.

           7                 MR. MURPHY:    I'm sorry.    I meant sidebar.

           8                 (THE FOLLOWING OCCURRED AT SIDEBAR:)

           9                 MR. MURPHY:    Your Honor, I think at this point I would

11:25AM   10      like to ask the following question:

          11                 Isn't it true that you were told in December of 2015

          12      that Pelon participated in the armed robberies of a number of

          13      gypsy cab drivers in East Boston and Chelsea, along with -- I

          14      think at this point, your Honor, there's been a foundation laid

          15      for that relevance.

          16                 I would say, Number 1, he testified about why he

          17      didn't have any concerns about Pelon having smashed

          18      Irvin De Paz in the head.       I think that he also has testified

          19      to a whole litany of things about why he was stressed in

11:26AM   20      November, December, January of 2015, and, frankly, I think it's

          21      incredible that he would say all that but omit the fact that he

          22      learned that his own cooperating witness had been out there

          23      committing crime.

          24                 THE COURT:    What does any of this have to do with the

          25      guilt or innocence of any of these defendants?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 106 of 161
                                                                                     5-106




           1                  MR. MURPHY:     It goes to the credibility of this

           2      witness who's been allowed to testify about MS-13 in a way,

           3      your Honor, which suggested anybody who joins MS-13 is guilty

           4      of the charges that --

           5                  THE COURT:    He didn't testify about that.

           6                  MR. MURPHY:     I say I think that's the logical

           7      inference of his testimony, your Honor.         That it's all about

           8      violence, that it's a rule that they kill people, so I think it

           9      goes directly to his credibility, your Honor, and I think it's

11:27AM   10      relevant.    It's relevant.     He's been presented as a person who

          11      conducted a detailed thorough investigation, and the fact that

          12      this stuff was going on under his nose is relevant to his

          13      overall credibility as a witness.

          14                  THE COURT:    The government, what's your response?

          15                  MS. LAWRENCE:    That information had already been

          16      brought out.    I think you allowed him in court to admit to the

          17      fact that he was committing unauthorized acts while he was

          18      under the cooperation agreement that's been brought out on

          19      cross-examination, and I don't see any reason why we need to go

11:28AM   20      into the details of that.       I don't know how this is remotely

          21      relevant to the point we're trying to make.

          22                  THE COURT:    I'm going to be consistent and keep the

          23      details of that out because I think it's irrelevant, but I

          24      suppose to complete this completely irrelevant line of

          25      testimony about his personal stress, which was irrelevant in
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 107 of 161
                                                                                     5-107




           1      the first place and continues to be irrelevant, I would permit

           2      you to ask isn't it true that the unauthorized -- that you

           3      learned, you know, in November, whenever it was, that this was

           4      when CW-1 was committing unauthorized acts and that added to

           5      his stress but not the details of what those acts were.

           6                  MR. POHL:    Your Honor, may I ask unauthorized criminal

           7      acts?

           8                  THE COURT:    Yes.

           9                  (SIDEBAR CONFERENCE WAS CONCLUDED)

11:28AM   10      Q.      Special Agent, is it also fair to say that another thing

          11      that was contributing to your stress in November and

          12      December of 2015 was that you learned that CW-1, whom you

          13      brought here, the FBI had brought here from El Salvador to work

          14      for the FBI, had been committing unauthorized criminal acts

          15      without your knowledge?

          16      A.      That didn't cause me any stress, no.      I mean, not like

          17      what you're suggesting, no.

          18                  MR. MURPHY:    May I have a moment, your Honor?

          19                  THE COURT:    Yes.

11:30AM   20      Q.      Sir, I just want to return to one point.       It's been your

          21      experience that sometimes people who are speaking to law

          22      enforcement exaggerate and embellish what they have done,

          23      correct?

          24      A.      Yes, people have done that, yes.

          25                  MR. MURPHY:    Thank you, your Honor.     Nothing further.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 108 of 161
                                                                                      5-108




           1                   THE COURT:   Mr. Lopez.

           2                   MR. LOPEZ:   Thank you, your Honor.

           3                                  CROSS-EXAMINATION

           4      BY MR. LOPEZ:

           5      Q.    Good morning, Agent Wood.

           6      A.    Good morning, sir.

           7      Q.    My name is Scott Lopez.      I represent Edwin Guzman.       Now, I

           8      think you testified on your direct that MS-13 began as a

           9      nonviolent gang?

11:31AM   10      A.    I don't know if I said nonviolent, I said they formed a

          11      gang in 1979.

          12      Q.    And that was the Stoners?

          13      A.    Yes.

          14      Q.    And the Stoners basically existed to get stoned?

          15      A.    They did smoke marijuana, yes.

          16      Q.    And to listen to hard rock?

          17      A.    That was another thing that they did, yes.

          18      Q.    And would you agree with me that most aspects of gang life

          19      are nonviolent?

11:32AM   20      A.    I would disagree with you on that one.

          21      Q.    Well, would you agree that gangs hang out, socialize on

          22      street corners, alleyways, in front of apartment buildings, or

          23      in strip malls?

          24      A.    Yes, I would say that gang members hang out together.

          25      Q.    A yes or no will suffice.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 109 of 161
                                                                                     5-109




           1                   THE COURT:   Well, not if it's not a fair response.

           2      You can't give that instruction.        Put another question to him.

           3      Q.    Would you agree that gang members sometimes watch

           4      television, watch movies, or play video games?

           5      A.    Yes, they would do that.

           6      Q.    Okay.    And they drink beer?

           7      A.    I imagine they drink beer.

           8      Q.    Or alcohol?

           9      A.    Yes.

11:32AM   10      Q.    Hang out at each other's homes?

          11      A.    Yes.

          12      Q.    They smoke marijuana?

          13      A.    Some do, yes.

          14      Q.    And they like to party?

          15      A.    Yes.

          16      Q.    And they like to hang out in parks?

          17      A.    I don't think that's a yes or no question.

          18      Q.    Okay.    And some of them work part-time jobs?

          19      A.    Some.

11:33AM   20      Q.    And so there are many things that gang members do that are

          21      not violent, would you agree?

          22      A.    I still don't know if I'd completely agree with that

          23      statement.

          24      Q.    Well, could you agree to any extent?

          25      A.    No, I think that what I've seen in my experience is that
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 110 of 161
                                                                                     5-110




           1      gang members form gangs to be violent and control their

           2      territory, so to say that they're not violent, I just don't

           3      agree with.

           4      Q.    And that's based on your experience as an FBI agent?

           5      A.    Yes.

           6      Q.    Do you think your view of gangs might be a little skewed

           7      by your experience as an FBI agent?

           8      A.    No.

           9      Q.    Now, most gang members are recruited when they are

11:34AM   10      teenagers?

          11      A.    That has been a predominant -- I'm trying to think of the

          12      word, it's escaping, but yes.       I've seen high school students,

          13      and I've seen as low as middle school kids being recruited into

          14      the gangs.

          15      Q.    And high school students getting tattoos?

          16      A.    I think you have to be 18 to get a tattoo, so I'm sure

          17      some underage kids get tattoos, but I don't know when or how.

          18      Q.    Are you saying in your experience as an FBI agent, you've

          19      never seen an underage teenager with a tattoo?

11:34AM   20      A.    No, I have seen some underage, but I'm just saying it's

          21      illegal.     It's usually a little harder for them to get tattoos.

          22      Q.    Well, so are violent acts, but according to you, that's

          23      all they do.     I take that back, your Honor.      Now, do you see a

          24      correlation between adolescents and alcohol?

          25                   MR. POHL:   Objection, on relevance grounds.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 111 of 161
                                                                                      5-111




           1                 THE COURT:    Sustained.

           2      Q.     What about adolescents and drugs?

           3                 MR. POHL:    Objection.

           4                 THE COURT:    Sustained.    I don't think he's an expert

           5      on adolescents.

           6                 MR. LOPEZ:    Well, actually, your Honor, that's what he

           7      was put forth as.      May I be heard?

           8                 THE COURT:    No, he's talked about gangs.      He doesn't

           9      talk about adolescents.      Go ahead.    Put another question to

11:35AM   10      him.

          11      Q.     Do you know if there's any correlation between gang

          12      membership and female companionship?

          13                 MR. POHL:    Objection.

          14                 THE COURT:    I'll allow that.

          15      A.     In what sense do you mean?

          16      Q.     Well, I'm a high school student, I'm a gang member, and

          17      girls are attracted to me.       Does that happen?     Yes or no.

          18      A.     I was going to say I don't know if that's quite yes or no

          19      because I think all adolescent boys and girls are attracted to

11:36AM   20      one another.

          21      Q.     Exactly.   And if your identity is attractive, that's a

          22      good thing, right?

          23      A.     Certain things can be attractive, yes.

          24      Q.     Now, throughout this investigation or through most of it,

          25      Mr. Guzman was referred to in many of the reports by the
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 112 of 161
                                                                                     5-112




           1      nickname Playa.     Do you agree?

           2      A.    Player, Playa, yes.

           3      Q.    No, no.   Playa, not Player?

           4      A.    Well, I'm not very good at dropping the Rs, so I always

           5      called him Player, but, yes.

           6      Q.    And then as we've got closer to trial, everything got

           7      changed to Playa, right?

           8      A.    Well, since I came in on the reinvestigation as a co-case

           9      agent in 2015, I always called him Player.

11:36AM   10      Q.    Now, do you know what Playa means in Spanish?

          11      A.    No, I'm not a very good Spanish speaker.

          12      Q.    Do you know why Mr. Guzman's nickname is Playa?

          13      A.    No.

          14      Q.    Do you know whether or not he got that name because he was

          15      a lady's man?

          16                  MR. POHL:    Objection.

          17                  THE COURT:    That was your objection?

          18                  MR. POHL:    Yes.

          19                  THE COURT:    If you know how he got his nickname, you

11:37AM   20      can say so, but otherwise.

          21      A.    I don't know.

          22      Q.    Now, would you agree that the average age of most gang

          23      members when they're recruited is about 15?

          24      A.    I can't agree to that, no.

          25      Q.    And some join as young as 13?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 113 of 161
                                                                                     5-113




           1      A.    Again, I know -- depending on where you are, I've seen it

           2      younger than that.

           3      Q.    And in 2015, I think you testified that some were as young

           4      as 11 or 12?

           5      A.    That is correct.

           6      Q.    And that was in November of 2015?

           7      A.    Yes.

           8      Q.    And that was at that time a recent phenomenon, right?

           9      A.    That was more in El Salvador, but, yes.

11:37AM   10      Q.    And that was in El Salvador, but those recruits were

          11      coming into the United States?

          12      A.    Yes.

          13      Q.    Okay.    And who is Special Agent David LeValle?

          14      A.    I'd have to see his name.

          15      Q.    You're not familiar with his role in the MS-13

          16      investigation in Virginia?

          17      A.    Again, I'd have to see him.       I'm not familiar with every

          18      single MS-13 investigator in the United States.

          19      Q.    Well, in 2016, he was interviewed and he said the mass

11:38AM   20      migration of unaccompanied minors from Central America in 2014

          21      created a whole new crop of recruits.        My question is do you

          22      agree with his assessments?

          23      A.    With the unoccupied minor program, I would say there's a

          24      lot of truth to that, yes.

          25      Q.    So, in 2014, things began to change vis-à-vis MS-13 and
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 114 of 161
                                                                                     5-114




           1      young recruits?

           2      A.    Yes, that was a general.

           3      Q.    And, in fact, some of those young men who came in, as

           4      young as 11 or 12, had already committed murders in

           5      El Salvador, right?

           6      A.    I would say there were probably a little older than 11 or

           7      12, they were recruited at 11 or 12, and then if they had

           8      already killed someone that, yes, they would be coming in

           9      across the border, but I would say they were probably at that

11:39AM   10      point between 13 to 16.

          11      Q.    But that was a new phenomenon that was being discovered in

          12      2014 by the FBI, right?

          13      A.    Yes.

          14      Q.    Okay.   Now, between 2000, the early 2000 and 2012, would

          15      you agree that MS-13 was mostly in hibernation?

          16      A.    I would not agree with that.

          17      Q.    Well, you started in the gang unit in 2004?

          18      A.    2002.

          19      Q.    2002, and this indictment was filed in 2016, right?

11:40AM   20      A.    Correct.

          21      Q.    And the investigation began in 2012?

          22      A.    Correct.

          23      Q.    So if these MS-13 cliques existed between 2000 and 2012,

          24      there weren't any prosecutions of them, right?

          25      A.    Not federally, no.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 115 of 161
                                                                                     5-115




           1      Q.      Now, when you look at gang members, do you differentiate

           2      between violent and nonviolent gang members?

           3      A.      They are all violent to me.     A gang is a violent gang.

           4      Q.      During the course of your investigation in this case, did

           5      you categorize MS-13 gang members?

           6      A.      What do you mean categorize?

           7      Q.      Well, are you aware that there are peripheral gang members

           8      of MS-13?

           9      A.      Well, I believe I testified that you have your paros that

11:41AM   10      are the new brand new recruits, they're under observation, then

          11      your chequeos, and then your homeboys.

          12      Q.      I'm talking about homeboys.     Are there peripheral homeboys

          13      that you're aware of?

          14      A.      No, you're a homeboy.

          15      Q.      Are there core members of the group that you're aware of?

          16      A.      If you're a homeboy, you're a homeboy, sir.

          17      Q.      Are there hard core members of the group that you're aware

          18      of?

          19      A.      Again, sir, if you're a homeboy, you're a homeboy.

11:41AM   20      Q.      So just one broad stroke, anyone who's a homeboy is hard

          21      core?

          22      A.      Yes, sir.

          23      Q.      Are you aware that only about 5 percent of hardcore MS-13

          24      members commit violent crimes?

          25      A.      I would disagree with that, sir.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 116 of 161
                                                                                     5-116




           1      Q.      Well, you said that you've been studying this group since

           2      2002.    Have you done any reading on it?

           3      A.      Yes.

           4      Q.      Have you read any books on it?

           5      A.      Not books, no.

           6      Q.      You've never read a book about MS-13?

           7      A.      No, I've read the intelligence documents that the FBI puts

           8      out.

           9      Q.      So the source of your information has all been law

11:42AM   10      enforcement sources?

          11      A.      And debriefing of or MS-13 gang members themselves.

          12      Q.      Are you aware of a rule in MS-13, in the MS-13 gang, that

          13      allows older members to step away from the gang life and

          14      essentially retire or become comado (ph)?

          15      A.      In my investigation, I knew things like that occurred, but

          16      then by 2015, well, we had learned that the way to get out of

          17      the gang was to find church, and then you were out of the gang.

          18      Q.      I think you previously testified that although that was an

          19      option, that you needed permission?

11:43AM   20      A.      Well, you had to go to the leaders and say I found church,

          21      I found God, I want to leave the gang.

          22      Q.      And that permission was rarely granted?

          23      A.      No, no, I didn't say permission was rarely granted.        I

          24      said that they would be granted permission.         I also said

          25      that --
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 117 of 161
                                                                                     5-117




           1      Q.      So --

           2                  THE COURT:    Don't interrupt him.

           3      A.      At an East Coast Program meeting, the leader said surveil

           4      those who have sought to leave the gangs through church and God

           5      to make sure that they are, in fact, going to church, they are

           6      following the way of God, because if not, then we will kill

           7      them.

           8      Q.      And so you're basing your information, your knowledge

           9      about finding God based on what one of the leaders said?

11:43AM   10      A.      What the whole, all the leaders in that meeting were

          11      agreeing to.

          12      Q.      Well, prior to that, were you aware that that was a way

          13      out of the gang?

          14      A.      Well, like all gangs, I've known --

          15      Q.      Sir, were you aware that that was a way out of the gang

          16      prior to that?       Yes or no.

          17      A.      What part?    The God?

          18      Q.      Prior to that meeting, were you aware that finding God was

          19      a way out of the gang?      Yes or no.

11:44AM   20      A.      Yes, I knew that finding God was a way out.

          21      Q.      And were you aware that there were other ways out?

          22      A.      At that point in the investigation, it was you either died

          23      or you found God.

          24      Q.      And that was in 2015?

          25      A.      Correct.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 118 of 161
                                                                                      5-118




           1      Q.      What about from 2000 to 2015?      Was there another way that

           2      you knew about as someone who is so knowledgeable about MS-13

           3      if there was another way out?

           4      A.      Well, again, in 2015, when I learned, I'm not sure when

           5      finding God first came into place.         I knew that like other

           6      gangs, MS-13, if you had been in long enough --

           7      Q.      I'm concerned about --

           8                     THE COURT:   Please don't interrupt him.

           9                     MR. LOPEZ:   But, your Honor --

11:45AM   10                     THE COURT:   Please.   I get to control the questioning

          11      and answering, Mr. Lopez.        Don't interrupt me, or the witness.

          12      Okay.    Please continue your answer.

          13      A.      So I knew that like other gangs, senior long-term members

          14      could get out in a retirement phase, but again, as I said, when

          15      I took over the case, I became involved in the case, it was

          16      finding God or you're dead.

          17      Q.      So with respect to other gangs, you were aware that there

          18      was a way to retire from gang life?

          19      A.      I said other gangs and MS-13.      I said it was a broad range

11:45AM   20      of gangs.

          21      Q.      So both other gangs and MS-13 members could retire,

          22      correct?

          23      A.      Yes.

          24      Q.      Without finding God, correct?

          25      A.      Yes.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 119 of 161
                                                                                     5-119




           1      Q.    And without being killed, correct?

           2      A.    Yes.

           3                   THE COURT:    Let me -- are you changing to another

           4      subject now?

           5                   MR. LOPEZ:    Yes, I am.

           6                   THE COURT:    Let's take a break.

           7                   THE CLERK:    All rise.

           8                   (A recess was taken.)

           9                   THE CLERK:    All rise for the jury.

12:00PM   10                   (JURORS ENTERED THE COURTROOM.)

          11                   THE CLERK:    Thank you.   You may be seated.    Court is

          12      now back in session.

          13                   THE COURT:    Mr. Lopez.

          14                   MR. MURPHY:    Thank you, your Honor.    May I approach

          15      the witness, your Honor?

          16                   THE COURT:    Yes.

          17      Q.    Agent, I've put a book before you entitled Gangsters

          18      Without Borders: An Ethnography of a Salvadoran Street Gang by

          19      Professor Thomas W. Ward?

12:01PM   20      A.    Yes, I see this, yes.

          21      Q.    Have you seen that before?

          22      A.    No.

          23      Q.    I take it you haven't read it?

          24      A.    No, sir.

          25      Q.    And are you familiar with what an ethnographic study is?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 120 of 161
                                                                                     5-120




           1      A.    I am not, no.

           2      Q.    Well, do you know what ethnography is?

           3      A.    No.

           4      Q.    Do you know whether it's a branch of anthropology that

           5      involves trying to understand how people or cultures live?

           6      A.    Again, I don't know.

           7      Q.    Have you ever seen any other book on MS-13?

           8      A.    I have not read any other books on MS-13.

           9                  MR. MURPHY:    Your Honor, I'd like to ask him about

12:02PM   10      some passages in this book.

          11                  THE COURT:    Well, I think we need a foundation under

          12      Rule 803, 18(b).

          13                  MR. MURPHY:    Well, your Honor --

          14                  THE COURT:    I mean, he's not acknowledged as an

          15      authority, and we don't have any other testimony.

          16                  MR. MURPHY:    Correct, but you can take judicial notice

          17      of it.

          18                  THE COURT:    I'm not sure I can do that.     Let me see

          19      that book.    Well, I'm not sure I can do that.        To do that, it

12:03PM   20      has to be beyond dispute.       I just don't know one way or the

          21      other.   I don't think I can take judicial notice of it.

          22      Q.    Now, directing your attention to CW-1 --

          23      A.    Yes, sir.

          24      Q.    So I just want to be clear, his mission was to take down

          25      MS-13, right?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 121 of 161
                                                                                     5-121




           1      A.    No, that's my mission, sir.       His mission is to cooperate

           2      with the Federal Government.

           3      Q.    So your mission was to take down MS-13?

           4      A.    My mission is to investigate violent street gangs, in this

           5      case, MS-13, disrupt and dismantle them.

           6      Q.    And CW-1 was authorized to lie, right?

           7      A.    I'm not sure what you mean by that, sir.

           8      Q.    Well, he was authorized to tell falsehoods to gang members

           9      in order to induce them into making incriminatory statements,

12:04PM   10      right?

          11      A.    I don't think we induced anyone, as you're trying to

          12      reference.

          13      Q.    Well, Mr. Murphy asked you some questions about whether or

          14      not you believed the statements in the transcript that he

          15      showed you and you said you didn't believe him?

          16      A.    Oh, in that sense, absolutely, yes.

          17      Q.    So he lied, right?     In your mind, he lied?

          18      A.    Yes.

          19      Q.    Because you didn't believe what he said in those tapes?

12:05PM   20      A.    Correct.

          21      Q.    So he was authorized to lie?

          22      A.    He's authorized to keep to his story of being an MS-13

          23      gang member.

          24      Q.    He was authorized to have a cover story?

          25      A.    Yes.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 122 of 161
                                                                                     5-122




           1      Q.      And the cover story was a lie?

           2      A.      Yes.

           3      Q.      So he was authorized to lie?

           4      A.      Yes.

           5      Q.      And he was authorized to sell drugs?

           6      A.      No, he did not sell drugs.

           7      Q.      Oh, he was authorized to participate in protection

           8      details?

           9      A.      Correct.

12:05PM   10      Q.      And he wasn't authorized to sell drugs?

          11      A.      No, we purchased drugs from targets, and then he did the

          12      protection details.      That's not selling drugs to civilians.

          13      Q.      And he was authorized to drive a gypsy cab?

          14      A.      Yes.

          15      Q.      And a gypsy cab is an illegal cab?

          16      A.      Yes.

          17      Q.      And you, the FBI, provided him with the very cab to do

          18      that?

          19      A.      Yes.

12:05PM   20      Q.      Now, he wasn't authorized to commit murder?

          21      A.      Correct.

          22      Q.      And he wasn't authorized to commit attempted murder?

          23      A.      Correct.

          24      Q.      Or assault with intent to murder?

          25      A.      Correct.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 123 of 161
                                                                                       5-123




           1      Q.    Or robbery?

           2      A.    Correct.

           3      Q.    Or attempted robberies?

           4      A.    Correct.

           5      Q.    Now, was he authorized to bring Muerto and Brujo to the

           6      Highland Street Park in Chelsea on May 12, 2015?

           7      A.    We did not talk to him before that, no.

           8      Q.    So he did that on his own?

           9      A.    He did that with the gang, yes.

12:06PM   10      Q.    And then afterwards he told you that he really didn't do

          11      anything?

          12                  MR. POHL:    Objection.

          13                  THE COURT:    I'm sorry, is there an objection?

          14                  MR. POHL:    Yes.

          15                  THE COURT:    Let me hear the question.

          16                  MR. LOPEZ:    I'll strike the question, your Honor.

          17      Q.    Was he authorized to participate in that attempted murder

          18      of Miner Ochoa?

          19                  MR. POHL:    Objection.

12:07PM   20                  THE COURT:    I'll allow it.   Overruled.

          21      A.    He was not participating when we interviewed him.            He said

          22      he drove there and that Muerto stabbed the kid, but he did not

          23      stab him.

          24      Q.    Can you try to answer the question I asked instead of the

          25      question you want me to ask?       The question is did you authorize
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 124 of 161
                                                                                     5-124




           1      him to participate in the attempted murder of Miner Ochoa?

           2      A.    No.

           3      Q.    And you learned later that he actually drove the person

           4      who stabbed Mr. Ochoa to the scene?

           5      A.    We found out almost immediately that yes, he was there.

           6      Q.    And he drove them from the scene?

           7      A.    Yes.

           8      Q.    Now, if Mr. Guzman had done that, Mr. Guzman could be

           9      charged with conspiracy to commit attempted murder, right?

12:08PM   10      A.    Yes.

          11      Q.    But you didn't charge CW-1 with conspiracy to commit

          12      attempted murder?

          13      A.    No, we charged the stabber.

          14      Q.    Who is now cooperating with the government?

          15      A.    Yes.

          16      Q.    So, this investigation began around March of 2012?

          17      A.    I believe so, yes.

          18      Q.    And the indictment was unsealed in January of 2016?

          19      A.    Yes.

12:08PM   20      Q.    So nearly a four-year investigation?

          21      A.    Correct.

          22      Q.    And would you agree with me that all you needed for the

          23      indictment to be filed was probable cause?

          24      A.    I don't know if I can answer the way you're asking that

          25      question.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 125 of 161
                                                                                     5-125




           1      Q.    Are you aware of what the standard of proof is for an

           2      indictment?

           3                   MR. POHL:    Objection.

           4                   THE COURT:    Well, I mean you're asking him a legal

           5      principle.     To convict someone based on an indictment, it has

           6      to be proof beyond a reasonable doubt.         Put another question to

           7      the witness.

           8      Q.    You're an FBI agent?

           9      A.    Yes, sir.

12:09PM   10      Q.    For 18 years?

          11      A.    Yes, sir.

          12      Q.    And do you know what you need in order to get an

          13      indictment issued?

          14      A.    I know what I need.

          15      Q.    And you need probable cause, right?

          16      A.    Yes.

          17      Q.    And that's to say a crime probably was committed?

          18      A.    Correct.

          19      Q.    And proof that something probably happened?

12:09PM   20      A.    To charge, yes.

          21      Q.    It's not proof beyond a reasonable doubt?

          22      A.    Correct.

          23      Q.    Now, before the indictment was filed -- strike that.         Did

          24      you conduct any investigation into Mr. Guzman's background

          25      before the indictment was filed?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 126 of 161
                                                                                        5-126




           1      A.    What kind of background?

           2      Q.    Well, you're an FBI agent.       You know how to do a

           3      background check, don't you?

           4      A.    Yes.

           5      Q.    Okay.   Did you do a background check of Mr. Guzman before

           6      you filed the indictment?

           7      A.    I had the evidence that the FBI had gathered over the

           8      course of the investigation, and that's what I had.

           9      Q.    Sir, we're going to try this again, and I'm going to ask

12:10PM   10      you to answer the question I asked, not the question you wanted

          11      me to ask.    Did you conduct an investigation into Mr. Guzman's

          12      background before you -- before the indictment was filed?

          13      A.    Again, that's not a complete yes or no question.             I know

          14      what you're trying to ask me, but the answer isn't a simple yes

          15      or no the way you're asking, so --

          16      Q.    Did you determine whether he was in the calmado stage in

          17      his membership in the gang?

          18      A.    Not at all, he was not.

          19      Q.    Did you determine what age he was when he became a member?

12:10PM   20      A.    I did not.

          21      Q.    Did you determine what age he was when he got a tattoo?

          22      A.    I did not.

          23      Q.    Did you determine whether he was married?

          24      A.    I did not.

          25      Q.    Did you determine whether he had two children?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 127 of 161
                                                                                     5-127




           1      A.    I had not.

           2      Q.    Did you know that -- did you determine whether he had full

           3      employment?

           4                 MR. POHL:    Objection.

           5                 THE COURT:    Sustained.

           6      Q.    Did you know anything about his work history?

           7                 MR. POHL:    Objection.

           8                 THE COURT:    Sustained.

           9      Q.    Did you know that he was a home owner?

12:11PM   10                 MR. POHL:    Objection.

          11                 THE COURT:    Sustained.

          12      Q.    Did you know that he was a taxpayer?

          13                 MR. POHL:    Objection.

          14                 THE COURT:    Sustained.    All right.    Let's move on.

          15      Q.    Now, did he have any convictions or drug dealing?

          16                 MR. POHL:    Objection.

          17                 THE COURT:    Sustained.

          18                 MR. LOPEZ:    Your Honor, may I approach?

          19                 THE COURT:    No.

12:11PM   20      Q.    Now, Mr. Murphy talked about the green light that was put

          21      on Herzzon Sandoval?

          22      A.    I don't think we ever fully -- we got word that there was

          23      a green light.     I don't know if we every got proof that there

          24      was a full green light issued.

          25      Q.    I don't want to quibble with you about interpreting the
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 128 of 161
                                                                                     5-128




           1      evidence.    That's for the jury.     My question is that at some

           2      point, you went and warned Mr. Sandoval, right?

           3      A.    Yes, I did.

           4      Q.    Now, in that meeting in December, 2015 in Virginia, there

           5      was also discussion of Mr. Guzman, right?

           6      A.    I thought the transcript I read was talking about Casper,

           7      not your client, sir.

           8      Q.    Do you know whether or not Mr. Guzman's name was raised in

           9      that meeting?

12:12PM   10      A.    I'd have to read the whole transcript and not the excerpt

          11      that was provided to me.

          12      Q.    So as you sit here today, you don't know?

          13      A.    I'd have to review it.      I don't remember.

          14      Q.    So you don't know today, as you sit here?

          15      A.    I don't remember.     If I had the transcript, I could easily

          16      refresh my memory.

          17      Q.    Well, I think you testified that Mr. Guzman was the second

          18      in command?

          19      A.    That is correct.

12:13PM   20      Q.    By the way, what are the duties of the second in command

          21      based on your experience with respect to MS-13?          What exactly

          22      do they do?

          23      A.    They're the second in command.       He collected dues when he

          24      was -- they were hosting meetings, and if Casper wasn't around,

          25      he would be in charge, but Casper was here, and so Casper was
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 129 of 161
                                                                                     5-129




           1      the first word, he was the second word.

           2      Q.    So, his function was primarily ceremonial?

           3      A.    No, it would be like a commander in the Army and the

           4      executive commander, the executive officer for the Army.

           5      Q.    So you said that he collected dues?

           6      A.    Yes.

           7      Q.    And wouldn't the treasurer collect dues?

           8      A.    No, not necessarily.

           9      Q.    And I think you said that if Casper wasn't there, that he

12:13PM   10      would run meetings?

          11      A.    He could run meetings or he'd be someone who would issue

          12      commands.

          13      Q.    Over the four-career investigation in this case, did you

          14      come upon any meetings that Mr. Guzman started and ran?

          15      A.    Me, personally, no.     I don't know.

          16      Q.    Now, after that meeting in Virginia among the MS

          17      leadership, no one warned Mr. Guzman that, as a leader, his

          18      life might be in danger as well, right?

          19      A.    That is right.

12:14PM   20      Q.    Now, I think you said that this case -- in this case you

          21      targeted MS-13?

          22      A.    Yes.

          23      Q.    And you targeted Mr. Guzman?

          24      A.    When I became included in the case, yes, and reviewing

          25      other reports and everything, he was a target from the start,
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 130 of 161
                                                                                     5-130




           1      yes.

           2      Q.     And you used CW-1 to target MS-13.

           3      A.     Yes.

           4      Q.     And you imbedded CW-1 into the Eastside clique?

           5      A.     That's the clique that accepted him.       We didn't just say

           6      this is a clique you're in.       He -- that's who recruited him

           7      into the clique.

           8      Q.     And you encouraged CW-1 to try to get Eastside clique

           9      members to commit violent acts, right?

12:15PM   10      A.     No, I would not say he recruited people on the Eastside to

          11      commit violent acts.

          12      Q.     Have you really listened to the tapes in this case?

          13      A.     Yes, I have.

          14      Q.     And you don't have any memory of CW-1 ever encouraging

          15      Muerto or Brujo or Tigre to commit violent acts against others?

          16      A.     Not the way you're suggesting, no.

          17      Q.     You don't have any memory of CW-1 complaining that

          18      Mr. Guzman and Mr. Sandoval didn't want people to go out and

          19      commit violent acts?

12:15PM   20      A.     I remember a meeting where Casper, Mr. Sandoval and

          21      Mr. Guzman wanted the CW-1 and Muerto punished, disciplined for

          22      talking to East Coast Program leaders.         And they made the case,

          23      they made the pitch, the whole clique got to listen to the

          24      responses, and the clique voted that, no, they should not be

          25      punished.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 131 of 161
                                                                                     5-131




           1      Q.    Let me try again.     In your review of the tapes, you

           2      haven't seen any conversations where Mr. Guzman and

           3      Mr. Sandoval are telling clique members not to go out into the

           4      street?

           5      A.    To make sure that I understand your question properly, are

           6      you saying that they are telling people not to go out and do

           7      violent acts?

           8      Q.    Yes.

           9      A.    That's a tough -- let me think how to answer that question

12:16PM   10      because I know how you're getting, sir.         I remember

          11      conversations where I believe it was Casper, he said, "We've

          12      already done our dirt."      I remember conversations where they

          13      issued a punishment.

          14      Q.    Sir --

          15                   MR. LOPEZ:   Your Honor, can I move to strike this

          16      answer?    It's not responsive to my question.

          17      A.    I'm not sure where your question --

          18                   THE COURT:   Hold on.   Hold on.   The precise question

          19      was have you seen conversations where Guzman and Sandoval are

12:17PM   20      telling clique members not to go out into the street?

          21                   MR. LOPEZ:   That's a --

          22                   THE COURT:   Go out into the street.     Answer the

          23      question, go ahead.

          24      A.    No, I would disagree.      I would say the orders were, you

          25      know, you need to have your presence known out on the street.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 132 of 161
                                                                                      5-132




           1      I don't -- the way you're phrasing the question is difficult

           2      for me to answer.

           3                   THE COURT:    All right.      Let's stop and put another

           4      question.

           5      Q.    Did CW try to get Mr. Guzman to commit crimes?

           6      A.    I don't know if he had asked Mr. Guzman to participate in

           7      the protection detail.       Again, I'm not sure what kind of crimes

           8      you're talking about.       I don't know.

           9      Q.    Well, with respect to the protection detail, do you know

12:18PM   10      whether Mr. Guzman refused to participate?

          11      A.    I know that both Mr. Sandoval and Mr. Guzman did not

          12      participate.

          13      Q.    Because they were working?

          14                   MR. POHL:    Objection.

          15                   THE COURT:    I'll let you say whatever was on the

          16      tapes.

          17      A.    I don't know the answer of why they did not participate.

          18      I wasn't --

          19      Q.    Well, as part of your investigation, wouldn't that be

12:18PM   20      important to know whether or not they were actively

          21      participating in crimes?

          22      A.    I knew they were actively participating in crimes.

          23      Q.    During the course of this investigation?

          24      A.    Yes.    Being the leaders of the gang --

          25                   THE COURT:    Stop.   Okay.    Put another question to him.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 133 of 161
                                                                                          5-133




           1                  MR. MURPHY:    The last answer, your Honor.

           2                  THE COURT:    The last bit will be struck, yes.        Go

           3      ahead.

           4      Q.      Now, you encouraged CW-1 to get Joel Martinez, the Animal,

           5      into the Eastside clique, right?

           6      A.      We directed the CW to ask if the clique would accept him

           7      into that clique, yes.

           8      Q.      Well, I don't want to get into semantics here, but by

           9      suggesting to CW-1 to get him into the clique, you wanted him

12:19PM   10      to succeed, right?

          11      A.      I wanted to see if the clique leaders would accept Animal

          12      into the clique.

          13      Q.      So you encouraged CW to try to do that?

          14      A.      We asked the CW, we listened to a phone call where Casper

          15      talks to Animal, and he says, "Come up here so we can observe

          16      you."

          17      Q.      And CW persuaded Muerto to support Animal getting brought

          18      into the clique, right?

          19      A.      I don't know where Muerto came in other than I do know

12:20PM   20      that Muerto went down with the CW to bring Animal back.

          21      Q.      You are the lead case agent on this case, right?

          22      A.      Oh, yes.

          23      Q.      Okay.   And Mr. Guzman was against the idea of Mr. Martinez

          24      being jumped into the clique, right?

          25      A.      I would say no to the way you phrased that question.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 134 of 161
                                                                                     5-134




           1      Q.    Is Mr. Guzman on any tape saying that he wants

           2      Joel Martinez to be brought into the clique that you're aware

           3      of?

           4      A.    I know that in the jump-in meeting, he's a participant of

           5      that meeting and he's all for it.

           6      Q.    Well, the tape that you played doesn't show him, right?

           7      A.    Oh, I think it does.      I remember that someone said,

           8      pointed him out to me two -- a little over two years ago.

           9      Q.    So what you're saying, if I understand correctly, is that

12:21PM   10      his mere presence indicated his approval, correct?

          11      A.    It was more than his presence, he welcomed him into the

          12      MS-13 gang.

          13      Q.    Well, let's talk about that because that's where I was

          14      going.   Now, early on in this case you --

          15                   MR. POHL:    Judge, objection.

          16                   THE COURT:    There's no question yet.

          17      Q.    You believed that it was Mr. Guzman who said when

          18      Mr. Martinez was jumped in, "Welcome to the Mara," right?

          19                   MR. POHL:    Objection.

12:21PM   20                   THE COURT:    I'll allow that.

          21      A.    Yes.

          22      Q.    And you've subsequently learned that wasn't him, right?

          23      A.    I have not learned that, no.

          24      Q.    You have not learned that?

          25      A.    My impression was he was there and he welcomed him to the
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 135 of 161
                                                                                     5-135




           1      Mara.

           2      Q.      So if you're wrong about that, that would be news to you

           3      as the lead case agent, right?

           4      A.      The last I remember is he was there welcoming him into the

           5      Mara like the rest of the gang.

           6      Q.      But did he say the words "Welcome to the Mara"?

           7      A.      That's what I was told, yes.

           8      Q.      That's what you were told?

           9      A.      Yes, I don't speak Spanish.

12:22PM   10      Q.      Okay.    Now, would it be fair to say that this prosecution

          11      has been good for your career?

          12                     MR. POHL:    Objection.

          13                     THE COURT:    It's pretty argumentative.   Sustained.

          14      Q.      Well, in 2016, you were promoted to supervisory special

          15      agent?

          16      A.      I was.

          17      Q.      And that position came with a pay raise?

          18      A.      Not a very big one.

          19      Q.      But a pay raise, nonetheless?

12:23PM   20      A.      Yes.

          21      Q.      And a higher profile within the FBI?

          22      A.      Actually, I thought I had a higher profile as a case agent

          23      than I do as a supervisor.

          24      Q.      And that's led to speaking engagements?

          25      A.      I was speaking before I became a supervisor.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 136 of 161
                                                                                      5-136




           1      Q.    And attendance at conferences?

           2      A.    I was doing that long before I ever became a supervisor.

           3      Q.    And you've hosted conferences here in Boston?

           4      A.    I have hosted, yes.

           5      Q.    And you've talked on the campus of the University of

           6      Maryland, you've talked on the campus of Boston College, right?

           7      A.    I have.

           8      Q.    And in 2017, you went to the annual meeting of the

           9      International Association of Chiefs of Police held in

12:23PM   10      Philadelphia, and you gave a briefing on the FBI Gang Task

          11      Force, right?

          12      A.    Yes.

          13      Q.    And specifically the work that you did in this case?

          14      A.    Well, specifically for the work the task force did, not

          15      just me.

          16      Q.    Now, you've previously testified that CW-1 was going to be

          17      charged with a Hobbs Act robbery, right?

          18                   MR. POHL:    Objection.

          19                   THE COURT:    Sustained.

12:24PM   20                   MR. LOPEZ:    May I approach, your Honor?

          21                   (THE FOLLOWING OCCURRED AT SIDEBAR:)

          22                   THE COURT:    Well, to begin, his prior testimony is

          23      hearsay, but where are you going in terms of relevance?            In

          24      other words, you start with asking about previous testimony is

          25      x.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 137 of 161
                                                                                     5-137




           1                 MR. LOPEZ:    It's inconsistent with his current

           2      testimony that he --

           3                 THE COURT:    We've heard nothing about Hobbs Act.

           4                 MR. LOPEZ:    Well, about whether or not CW-1 was going

           5      to be charged for the robberies that he did with Clacker and he

           6      testified here that he wasn't going to be charged, and he

           7      testified previously twice and in the affidavits to the Court

           8      to get a search warrant that he was going to be charged.

           9                 THE COURT:    First off, Hobbs Act is extortion, not

12:25PM   10      robbery, but, anyway, tell me where you're going with this.

          11                 MR. LOPEZ:    It's inconsistent testimony.

          12                 THE COURT:    All right.    Mr. Pohl.

          13                 MR. POHL:    I don't recall any testimony in this trial

          14      about, you know, the nature of the charge or any of that.          I

          15      think we left all of that out because we, you know, I think as

          16      we talked about -- I think this came on Friday, it became

          17      relevant because of the connection in the November trial with

          18      Clacker and the fact that that came up together, but in this

          19      trial we haven't talked about it.        We've had a generic

12:25PM   20      disclosure that there was an unauthorized activity while he was

          21      cooperating, but that was --

          22                 THE COURT:    I don't remember any testimony about him,

          23      whether he would be charged or not charged.

          24                 MR. POHL:    I agree.

          25                 THE COURT:    So --
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 138 of 161
                                                                                     5-138




           1                  MR. LOPEZ:   He didn't testify on direct that the CW

           2      wasn't charged, that a decision subsequently was made not to

           3      charge him?

           4                  THE COURT:   Even assuming that's true, although I

           5      don't remember.     Let's assume it's true.      How is it

           6      inconsistent that at one point he thought that the person would

           7      be charged?    How is that inconsistent?

           8                  MR. LOPEZ:   Your Honor, if the plan was to charge him,

           9      and it didn't happen.

12:26PM   10                  THE COURT:   That's not a prior inconsistent statement

          11      though.    That just means your plan didn't -- you know, somebody

          12      overruled him or he changed his mind.

          13                  MR. LOPEZ:   Then he should have qualified his

          14      testimony under oath that he might be charged, not that he will

          15      be charged.

          16                  THE COURT:   I'm not following the whole thing, so

          17      sustained.

          18                  (SIDEBAR CONFERENCE WAS CONCLUDED)

          19      Q.      Now, I think you testified earlier that when the

12:27PM   20      translations that we've seen in this case, when they were done,

          21      CW-1 actually had a role in determining the accuracy of the

          22      tape?

          23      A.      He would provide to non-El Salvadorian speaking Spanish

          24      translators the slang that El Salvadorians used, so when they

          25      would go through, they could understand what was being said.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 139 of 161
                                                                                      5-139




           1      Q.    And did people believe them when he told them those words?

           2                   MR. POHL:    Objection.

           3                   THE COURT:    Sustained.

           4                   MR. LOPEZ:    No further questions.

           5                   THE COURT:    Redirect.    Thank you, your Honor.

           6                                 REDIRECT EXAMINATION

           7      BY MR. POHL:

           8      Q.    Good afternoon, Special Agent Wood.

           9      A.    Good afternoon, sir.

12:28PM   10      Q.    I only have a few questions for you.         There's been a

          11      couple inquiries on cross-examination concerning the period of

          12      time after the FBI recorded Animal on its -- on a video

          13      recording talking about the Irvin De Paz murder and the time

          14      that he was arrested.       So can I ask you, you and members of the

          15      task force did have conversations with the Boston Police

          16      Department about that, correct?

          17      A.    We did.

          18      Q.    All right.    And Mr. Murphy suggested you could have simply

          19      given a picture of Mr. Martinez to the Boston Police

12:29PM   20      Department.     You've been an investigator for 18 years, correct?

          21      A.    Yes.

          22      Q.    All right.    And in your capacity as a federal law

          23      enforcement agent, you're often called upon to meet with state

          24      and local counterparts, correct?

          25                   THE COURT:    You're not allowed to lead.    Sustained.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 140 of 161
                                                                                     5-140




           1                   MR. POHL:    Thank you.

           2      Q.    In the 18 years that you've been a special agent, have you

           3      met with state and local counterparts coordinating

           4      investigations?

           5      A.    I have.

           6      Q.    All right.    And during those conversations, what kind of

           7      information -- can you just tell the jury something about that?

           8      When those meetings occur, what type of information are you

           9      typically exchanging?

12:29PM   10                   THE COURT:    Are you talking about in general or in

          11      this case?

          12      Q.    Well, let's make it specific in this case.         What kind of

          13      information would you be exchanging in this case?

          14                   MR. MURPHY:    Objection, your Honor.

          15                   THE COURT:    I'll allow that as a very general matter.

          16      A.    We would provide information that we have evidence now

          17      helping solve different crimes and that we're working towards

          18      indictments and we're just trying to share information that we

          19      can share that's allowed by the Attorney General.

12:30PM   20      Q.    And one of the pieces of information in this case was the

          21      recording?

          22      A.    Yes.

          23      Q.    All right.    And when you had -- when you and the members

          24      of the task force had those meetings, were you in a position to

          25      provide them, the FBI, with that recording?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 141 of 161
                                                                                     5-141




           1      A.    No.

           2                  MR. MURPHY:    Objection, your Honor.

           3      Q.    And why not?

           4                  THE COURT:    I'll allow that.

           5      Q.    Why not, Special Agent Wood?

           6      A.    Because it would expose the identity of our cooperating

           7      witness, and by the Attorney General rules, we can't release

           8      that information without certain authority from higher-ups.

           9      Q.    Was -- well, do you know when Joel Martinez was arrested

12:31PM   10      in this case?

          11      A.    I believe the take-down was January 29, 2016, so our

          12      arrest for most of the subjects in this case were on that day,

          13      but we had fugitives that were in New York, New Jersey, other

          14      parts of the country that we had to track down.

          15      Q.    To the best of your knowledge as you sit here today, do

          16      you remember when Joel Martinez was arrested in this case?

          17      A.    On that day, which would have been -- I believe it was

          18      January 29, 2016.

          19      Q.    There was some questions during cross-examination about

12:31PM   20      the difference between a cooperating witness and a cooperating

          21      defendant.    I want to talk to you about that for just a few

          22      minutes.     In the course of your career as an FBI Special Agent,

          23      can you tell the jury what it is that you mean when you used

          24      the term "cooperating witness"?

          25      A.    It's a very broad term.      The FBI has confidential
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 142 of 161
                                                                                      5-142




           1      informants.     One branch is a CI confidential informant that

           2      just provides information but no evidence.         You have to prove

           3      what they tell you, it's just kind of information.           Your

           4      cooperating witness actually gathers evidence that we can then

           5      bring here for you to review.

           6                   So that's -- in this case, we used a cooperating

           7      witness, not a confidential informant.

           8      Q.    Okay.    Now, that's a cooperating witness?

           9      A.    Correct.

12:32PM   10      Q.    Okay.    All right.   A "cooperating defendant."       Have you

          11      heard that term used in the course of your career as a FBI

          12      Special Agent?

          13      A.    Yes, I have.

          14      Q.    All right.     So what's the difference between a cooperating

          15      witness -- well, first of all, what is a cooperating defendant?

          16      A.    It's somebody that we have indicted, has been charged and

          17      now they're seeking consideration on their sentence for

          18      cooperating with the government.

          19      Q.    Okay.    So, we've testified -- you've testified I think

12:33PM   20      several times concerning the protection details?

          21      A.    Yes.

          22      Q.    All right.     And so you personally were on surveillance for

          23      the October 2014 protection detail, correct?

          24      A.    I was, yes.

          25      Q.    And that protection detail involved a cooperating witness,
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 143 of 161
                                                                                     5-143




           1      correct?

           2      A.    Yes.

           3      Q.    And that was who?

           4      A.    Pelon.

           5      Q.    Okay.    And during the course of your surveillance on the

           6      October 2014 protection detail, did you see or learn whether or

           7      not Jose Hernandez Miguel was present?

           8      A.    Yes.

           9      Q.    All right.    And Jose Hernandez Miguel is who?

12:33PM   10      A.    Muerto.

          11      Q.    And at the time -- and was Jose Hernandez Miguel the only

          12      MS-13 gang member present on that protection detail?

          13      A.    No.

          14      Q.    All right.    And you may not have been physically present

          15      for the protection detail before and the protection detail

          16      after, correct?

          17      A.    That's correct.

          18      Q.    You've certainly reviewed the reports and recordings of

          19      those protection details, correct?

12:34PM   20      A.    I have.

          21      Q.    All right.    Was Jose Hernandez Miguel, to the best of your

          22      knowledge, involved in all three of the protection details?

          23      A.    Yes.

          24                   MR. MURPHY:    Objection.

          25                   THE COURT:    Sustained.    The answer will be struck.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 144 of 161
                                                                                     5-144




           1      Q.      Well, let me ask the question this way, Special Agent

           2      Wood.    You've talked in the protection details about a

           3      cooperating witness being represent for the protection detail

           4      you were on, correct?

           5      A.      Yes.

           6      Q.      And you used undercover police officers, correct?

           7      A.      Yes.

           8      Q.      All right.   Sort of at the front and at the back?

           9      A.      Yes.

12:34PM   10      Q.      All right.   Is there any other cooperating witness

          11      involved in the October 2014 protection detail?

          12      A.      No.

          13      Q.      I think you were asked about the location of the ESLS

          14      clique meetings earlier today.       At the time -- are you aware of

          15      whether or not ESLS had clique meetings in other locations

          16      other than the garage that we've seen in Exhibit 1?

          17      A.      Yes.

          18      Q.      All right.   You became the case agent in 2015?

          19      A.      Yes.

12:35PM   20      Q.      All right.   At the time -- at your time in 2015, beginning

          21      in 2015, was there -- where were the locations where ESLS held

          22      its clique meetings?

          23      A.      The garage in Everett.

          24      Q.      All right.   To the best of your knowledge, as you sit here

          25      today, do you recall any other locations besides that garage
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 145 of 161
                                                                                        5-145




           1      that we've seen in Exhibit 1 being the location of where ESLS

           2      had its clique meetings?

           3      A.    I knew in one of the meetings they were outside of that

           4      garage, but when I was present, all the meetings occurred at

           5      that location in Everett.

           6      Q.    And you testified I think on -- you were asked on

           7      cross-examination concerning recordings and how you made

           8      recordings in this case.      Special Agent Wood, both in terms of

           9      the time you've had as the case agent and reviewing some of the

12:36PM   10      evidence that was gathered before you became a case agent,

          11      could you estimate, as you sit here today, how many hours of

          12      recordings the FBI made in connection with this investigation?

          13      A.    A few thousand, if not more.       It was -- we made lots of

          14      tape, we had -- as talked about with the consensual Title III

          15      where the CW allowed us to intercept his phone calls.              That's

          16      just hours upon hours of recordings.

          17      Q.    And were there occasions when CW-1 advised you of a

          18      meeting that you were not able to record it?

          19      A.    Yes.

12:37PM   20      Q.    All right.    How frequently did that happen?

          21      A.    It happened quite frequently.

          22      Q.    In 2015, Special Agent Wood, I think you testified that

          23      the pace of the recordings of ESLS had sort of picked up?

          24      A.    Yes.

          25      Q.    And one of the meetings you recorded involving a beating,
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 146 of 161
                                                                                     5-146




           1      correct?

           2      A.    Yes.

           3      Q.    Involved a beating.      So I want to take a step back, not

           4      talk specifically about the case but about your experience with

           5      MS-13 and your conversations that you've had with other law

           6      enforcement agents in El Salvador and throughout the country,

           7      all right.

           8                   What can you tell the jury about the -- what kind of

           9      person would be allowed into an MS-13 clique meeting?

12:38PM   10                   MR. MURPHY:    Objection, your Honor.

          11                   THE COURT:    Sustained without a foundation.

          12      Q.    Well, let me start -- maybe I'll start specifically with

          13      the garage recording.       You've reviewed the clique, the recorded

          14      meetings of ESLS at least in 2015, correct?

          15      A.    Yes.

          16      Q.    All right.    What time of night -- what time of day would

          17      those meetings typically begin?

          18      A.    It was at night.

          19      Q.    All right.    And were you in a position through

12:38PM   20      surveillance to identify the people that were coming and going

          21      from the garage?

          22      A.    No.

          23      Q.    Were you in a position to tell from your review of the

          24      recordings whether the garage was closed or open?

          25      A.    I believe the garage was closed.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 147 of 161
                                                                                     5-147




           1      Q.    And so were you -- and can you describe, when you looked

           2      at the recordings, sort of what you -- how the meetings that

           3      you recorded in the ESLS garage would commence?

           4      A.    I believe I testified that Casper would bring them

           5      together and form a group where, instead of people being here,

           6      there, talking, they all came together as a group.

           7      Q.    Well, let me put it this way.       What is the -- the clique,

           8      the clique, itself, right, the unit of a clique, how -- well,

           9      when you testified about the sort of structure of MS-13

12:40PM   10      previously, what's the relationship between the clique and say

          11      a larger program?

          12                  MR. MURPHY:    Objection, your Honor.

          13                  THE COURT:    Overruled.

          14                  MR. MURPHY:    Would my objection stand, your Honor?

          15                  THE COURT:    Yes.

          16      A.    The clique would report to regional East Coast or program

          17      leaders, who would then report to the United States program

          18      leader, who would report back to El Salvador.

          19      Q.    And based on your work on this investigation and

12:40PM   20      conversation with other agents, does MS-13 require cliques to

          21      have meetings?

          22      A.    Yes, yes.

          23      Q.    Okay.   And are those meetings open to the public?

          24      A.    No.

          25      Q.    So, what kind of people would be at a clique meeting?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 148 of 161
                                                                                     5-148




           1      A.    Homeboys.

           2                   MR. MURPHY:    Objection.    Hearsay.

           3                   THE COURT:    Sustained.

           4      Q.    Special Agent Wood, Mr. Murphy, on cross-examination,

           5      asked you some questions about recordings that the FBI picked

           6      up in 2015 concerning conversations about Casper, correct?

           7      A.    Yes.

           8      Q.    Do you remember that?      All right.    And some of those

           9      conversations discussed what would happen to Casper, correct?

12:41PM   10      A.    Yes.

          11      Q.    All right.    Well, let me say this, Special Agent Wood.         I

          12      think you testified earlier that MS-13 has gang rivals,

          13      correct?

          14      A.    Yes.

          15      Q.    Okay.    And based on your work on this investigation, your

          16      time in El Salvador, your conversations with other agents,

          17      debriefing of cooperating witnesses and defendants, what does

          18      MS-13 have to do to seek permission to kill a rival?

          19                   MR. MURPHY:    Objection, your Honor.

12:42PM   20                   THE COURT:    Is this someone in another gang?

          21                   MR. POHL:    Yes, not MS-13.

          22                   THE COURT:    All right.    I'll permit this testimony,

          23      again, as a general matter about how MS-13 -- the witness

          24      believes MS-13 ordinarily operates.         Go ahead.

          25      A.    If there's a question of the identity, or -- if this
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 149 of 161
                                                                                      5-149




           1      person is, they're not sure if the person is a member of the

           2      gang, they need to get permission from their leaders, but there

           3      is a standing order that if they have solid proof and they

           4      could safely get away with it, kill the person on sight.            If

           5      they know that's an 18th Street gang member and they would have

           6      their own little photographs that they collected from Facebook

           7      or other social media, so they would know who was in a rival

           8      gang, so if they saw them, they could assault them.

           9      Q.      Well, if you had say conversations or recordings which

12:43PM   10      discussed whether and how to discipline somebody and if the

          11      conversations involved other MS-13 gang members, what

          12      conclusion would you draw concerning whether or not that person

          13      that was the subject of the conversation would be in the MS-13

          14      gang?

          15                     MR. MURPHY:    Objection.

          16                     THE COURT:    Sustained.

          17      Q.      One or two last questions, Special Agent Wood.        You

          18      discussed the process by which the recordings were sort of

          19      formed into transcripts, correct?

12:44PM   20      A.      Yes.

          21      Q.      All right.    And can you tell the jury -- well, at the risk

          22      of going over old ground for one second, how many other agents

          23      on the task force speak Spanish that were working on this case?

          24      A.      Only Trooper Depena and Trooper Estevez, I believe, are

          25      Spanish speakers from the task force.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 150 of 161
                                                                                     5-150




           1      Q.    All right.    And you've reviewed many of the recordings

           2      that took place, that were made in 2015, correct?

           3      A.    Yes.

           4      Q.    And let's talk about the clique meetings themselves.         It's

           5      fair to say that many of those are multi-party conversations,

           6      correct?

           7      A.    Yes.

           8      Q.    Okay.    And it's fair to say that many of the recordings in

           9      2015 were not multi-party conversations?

12:44PM   10      A.    Yes.

          11      Q.    All right.    Mr. Murphy pulled up an example, I think, of

          12      Exhibit 103.     This is the conversation with CW-1 and Animal,

          13      correct?

          14      A.    Yes, sir.

          15      Q.    All right.    And that conversation -- just to remind the

          16      jury, where did that conversation take place?

          17      A.    In the CW's vehicle.

          18      Q.    Okay.    And where was Animal seated in the vehicle?

          19      A.    In the passenger's seat.

12:45PM   20      Q.    And in addition to that, I think you testified -- there

          21      are other examples in 2015 like that of conversations you

          22      gathered in this investigation from CW-1's car, correct?

          23                   MR. MURPHY:    Objection.

          24                   THE COURT:    Yes, not the content of the investigation,

          25      but you can answer the question as to how it was gathered.          Go
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 151 of 161
                                                                                     5-151




           1      ahead.

           2      A.      Yes.

           3      Q.      I'm putting up what's previously been admitted, your

           4      Honor, as Exhibit Number 108.       Do you remember that photograph,

           5      Special Agent Wood?

           6      A.      Yes.

           7      Q.      Who was seated in the passenger seat?

           8      A.      That's Mr. Sandoval.

           9      Q.      And that photograph came from a conversation that was

12:46PM   10      recorded in 2015?

          11      A.      It did.

          12      Q.      And what were the circumstances of that conversation being

          13      recorded?

          14      A.      This is where the CW, Mr. Sandoval, and Animal have a

          15      telephone conversation.

          16      Q.      All right.   Mr. Sandoval is in CW-1's car?

          17      A.      Yes.

          18      Q.      And seated where?

          19      A.      In the passenger seat.

12:47PM   20      Q.      You were asked a couple questions about the -- I guess

          21      what we'd call the jump-in video, the jump-in from January 8,

          22      2016.    Do you recall those questions?

          23      A.      Yes, I remember.

          24      Q.      And we played -- you saw an excerpt of that video,

          25      correct?
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 152 of 161
                                                                                     5-152




           1      A.    Yes.

           2      Q.    All right.    Prior to your testimony here today, have you

           3      reviewed, maybe not all, but many of the recordings that were

           4      made in 2015?

           5      A.    Yes.

           6      Q.    All right.    What can you tell the jury about the full

           7      length of the full Animal jump-in video?

           8      A.    It was a couple hours.      It wasn't just that.     It was a

           9      longer period.

12:47PM   10      Q.    You were asked a couple questions, I think both by

          11      Mr. Norkunas and Mr. Lopez, about nicknames?

          12      A.    Yes.

          13      Q.    During your time in 2015 to today, you've reviewed reports

          14      of this case, correct?

          15      A.    I have.

          16      Q.    And transcripts, correct?

          17      A.    I have.

          18      Q.    And it's fair to say that -- well, do many of those

          19      transcripts contain the gang names or nicknames of the

12:48PM   20      defendants throughout this case, not just seated in this

          21      courtroom?

          22      A.    Yes.

          23      Q.    All right.    Are the spellings always consistent?

          24      A.    No.

          25      Q.    All right.    When you hear the name CheChe spelled
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 153 of 161
                                                                                     5-153




           1      C-h-e-C-h-e --

           2      A.    Yes.

           3      Q.    -- and C-h-e-C-h-a?

           4      A.    Yes.

           5      Q.    -- do those names describe the same person?

           6                   MR. NORKUNAS:     Objection, Judge.

           7                   THE COURT:     Sustained.

           8                   MR. POHL:    Can I have just one moment, your Honor.

           9      Thank you.

12:49PM   10                   THE COURT:     Mr. Iovieno, recross.

          11                   MR. IOVIENO:    No, your Honor.

          12                   THE COURT:     Mr. Norkunas.

          13                   MR. NORKUNAS:     No, Judge.

          14                   THE COURT:     Mr. Murphy.

          15                   MR. MURPHY:     Briefly, your Honor.

          16                                   RECROSS-EXAMINATION

          17      BY MR. MURPHY:

          18      Q.    Special Agent Wood, you were not at the meetings between

          19      the task force --

12:50PM   20                   THE COURT:     I'm sorry.    If you're going to examine

          21      from over there, can you make sure --

          22                   MR. MURPHY:     I'll move over here.

          23                   THE COURT:     Okay.   Thanks.

          24      Q.    Mr. Pohl asked you about coordinating with the Boston

          25      Police Department after you had learned that Joel Martinez
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 154 of 161
                                                                                     5-154




           1      killed Mr. De Paz, correct?       You recall those questions?

           2      A.    Yeah, I remember those questions, yes.

           3      Q.    You didn't participate in that meeting, correct?

           4      A.    There were several meetings, and I did participate in one.

           5      Q.    When was that meeting?

           6      A.    It was -- the one I participated in, I believe, was in

           7      November of 2015.

           8      Q.    Did you write a report about that?

           9      A.    No.

12:50PM   10      Q.    Is there any record at all of what was discussed in that

          11      meeting to your knowledge?

          12      A.    No.

          13      Q.    And by the time of that meeting, where was Mr. Martinez?

          14      A.    New Jersey.

          15      Q.    Did you personally meet with the Boston Police Department

          16      and tell them that Mr. Martinez was back?

          17      A.    No.

          18      Q.    You did not, I think we've already established, provide a

          19      photograph of Mr. Martinez to the Boston Police Department so

12:51PM   20      that they could use it in a photo array, correct?

          21      A.    I did not, no.

          22      Q.    And it's not your testimony, is it, sir, that there is

          23      some set of Attorney General or Department of Justice or FBI

          24      guidelines that says that you couldn't have shared the

          25      photograph you had of Joel Martinez with the Boston Police
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 155 of 161
                                                                                       5-155




           1      Department?

           2      A.    No, I never testified to anything like that, no.

           3      Q.    I just wanted to make that clear, sir.          You testified that

           4      Mr. Martinez was arrested in connection with this case in late

           5      January of 2016?

           6      A.    Yes.

           7      Q.    Did the FBI investigate -- you can just answer this yes or

           8      no with the Court's permission.          Did the FBI investigate a

           9      crime that occurred on December 27, 2015 in connection with

12:52PM   10      this case?

          11      A.    You'd have to be more specific for me to answer that

          12      question.

          13      Q.    Do you know whether, in this indictment, there are charges

          14      relating to a stabbing that took place on December 27, 2015?

          15      A.    If you're referencing two stabbings that occurred around

          16      the holidays, I am aware of two stabbings, and I'm familiar

          17      with the stabbings, yes.

          18      Q.    And who participated in those stabbings?

          19                   MR. POHL:    Objection.

12:53PM   20                   THE COURT:     Sustained.

          21                   MR. MURPHY:     Thank you, your Honor.

          22                   THE COURT:     Mr. Lopez.

          23                   MR. LOPEZ:     No questions, your Honor.

          24                   THE COURT:     Thank you.   You may step down.

          25                   THE WITNESS:    Thank you, your Honor.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 156 of 161
                                                                                       5-156




           1                  THE COURT:    All right.   We have eight minutes to go.

           2      I don't ordinarily like to break early.         Are we on track,

           3      Mr. Pohl?

           4                  MR. POHL:    Maybe after the break we could talk about

           5      the schedule for tomorrow.

           6                  THE COURT:    Okay.   We'll break early then rather than

           7      have -- instead of eight minutes of testimony.          Ladies and

           8      gentlemen, remember my caution not to discuss the case among

           9      yourselves or with anyone else, and we'll see you tomorrow at

12:53PM   10      9:00.

          11                  THE CLERK:    All rise.

          12                  (JURORS EXITED THE COURTROOM.)

          13                  THE COURT:    Mr. Pohl, the previous record in my

          14      courtroom when the lawyers says one or two more questions is

          15      17, and I'm pretty sure you blew past that.         I'll have to count

          16      from the transcript.

          17                  All right.    What is tomorrow's lineup?

          18                  MS. LAWRENCE:    Oh, the lineup for tomorrow, yes, we

          19      have three police officers, we have Sergeant Detective Robert

12:54PM   20      Impemba, Trooper Shawn Riley and Trooper Carlos Rivera will be

          21      the first three witnesses who will be taking the stand.

          22                  THE COURT:    We'll be on a normal break schedule again

          23      tomorrow.    Again, I guess I should check with defense counsel,

          24      on everyone's assurance that we are on track, we are not

          25      following behind.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 157 of 161
                                                                                     5-157




           1                 MR. POHL:    I was going to supplement what Ms. Lawrence

           2      said.   I doubt that those three witnesses are going to take us

           3      through tomorrow.      They're short.    I expect we'll provide

           4      additional names to defense counsel about that.

           5                 THE COURT:    All right.

           6                 MR. POHL:    So I think if the Court was looking at the

           7      witness list and looking at the time and thinking and sort of

           8      calculating that all of those people might, if those were all

           9      rough estimates, that we'd be long.

12:55PM   10                 THE COURT:    I can't do that because the first few

          11      witnesses tend to be the lengthiest.        You tend to call the most

          12      important witnesses, and it tends to have the most

          13      cross-examination, but, you know, we'll have to see how it

          14      goes.

          15                 MR. POHL:    I think we'll be moving rapidly tomorrow,

          16      your Honor.

          17                 THE COURT:    Mr. Murphy.

          18                 MR. MURPHY:    Can we have a sidebar, your Honor?

          19                 THE COURT:    Yes.

12:56PM   20                 (SIDEBAR CONFERENCE WAS HELD AS FOLLOWS:)

          21                 MR. MURPHY:    During the break, I was approached by a

          22      woman in the back of the courtroom, whose name apparently is

          23      Michelle McPhee asking me for the exhibits that were offered by

          24      the defense and admitted during the case.         She told me, I have

          25      no idea whether this is true --
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 158 of 161
                                                                                     5-158




           1                 THE COURT:    Is this a radio person, Michelle McPhee?

           2                 MR. MURPHY:    I'm afraid I think it is, your Honor.          I

           3      wish I hadn't said that on the transcript now.          She asked me

           4      for a copy of the exhibits that had been admitted by the

           5      defense and told me that the government had given the admitted

           6      exhibits to her.     I don't know whether that's true or not, but

           7      I'm not -- I know it's a hassle for the Court sometimes to give

           8      press access to admitted exhibits.        If it would be helpful to

           9      the Court, I'd be happy to give her copies of the ones that

12:56PM   10      were admitted, but I just want to make sure that, Number 1, I'm

          11      not misunderstanding what's previously happening, and,

          12      Number 2, that I'm not doing something that's going to run

          13      afoul of any concern the Court or the government would have.

          14                 THE COURT:    Well, I guess, you know, it's a public

          15      proceeding.    The exhibits are supposed to be public.         I don't

          16      know whether I can restrict anyone's access to it.           I don't

          17      have to order anyone to be helpful, but I don't know that I can

          18      restrict it either.

          19                 Mr. Pohl, do you want to weigh in?

12:57PM   20                 MR. POHL:    We've had not just from Ms. McPhee but I

          21      think from one or two other news organizations, we've had sort

          22      of requests sort of on a daily basis to make available, request

          23      to our press office to make available publicly admitted items,

          24      and so we've been getting them on a daily basis, and now

          25      Mr. Murphy has had their first one.
               Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 159 of 161
                                                                                     5-159




           1                 MR. MURPHY:    From our end of it, there is a protective

           2      order that we're not allowed to distribute the record.

           3                 THE COURT:    Well, I think it certainly was my intent

           4      that whatever the protective order did or didn't do, it doesn't

           5      apply to exhibits.      Again, it's a public proceeding.       I mean, I

           6      think I have to make pretty specific findings to seal them.

           7      I'm happy to talk about that as a framework, but there is a

           8      press right of access to trials.

           9                 MR. POHL:    I think so far, I don't think there's

12:58PM   10      anything that I have concerns with the protective order about,

          11      but I think it's possible that tomorrow if we get to a

          12      cooperating witness, I think the jury would want to see an

          13      unredacted version of the plea and cooperation agreement, and

          14      that would be something that I would be concerned about

          15      disclosing publicly.

          16                 THE COURT:    I'm going to want that briefed again

          17      because it's, you know, again, there's a press right, and, you

          18      know, under Richmond Newspapers and that line of cases and

          19      First Circuit cases argued by Mr. Murphy's former partner,

12:58PM   20      Jonathan Albino, as to The Globe's right of access, I'm very

          21      unclear what I have power to seal, and, if so, under what

          22      circumstances, so I'm going to need guidance from the parties

          23      and the government.      My assumption is everything is certainly

          24      public to start with.

          25                 MR. POHL:    Well, I'll start by talking about it with
     Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 160 of 161
                                                                           5-160




 1      counsel, and we can talk about it in the morning.

 2                 THE COURT:    Okay.   But, again, even if counsel agree

 3      doesn't necessarily answer the question.

 4                 MR. POHL:    Right.

 5                 MR. MURPHY:    Thank you, your Honor.

 6                 THE COURT:    Thank you.    8:30 tomorrow.

 7                 THE CLERK:    All rise.

 8                 (Whereupon, the hearing was adjourned at 12:59 p.m.)

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:15-cr-10338-FDS Document 2554 Filed 06/22/18 Page 161 of 161
                                                                           5-161




 1                               C E R T I F I C A T E

 2

 3      UNITED STATES DISTRICT COURT )

 4      DISTRICT OF MASSACHUSETTS ) ss.

 5      CITY OF BOSTON )

 6

 7                  I do hereby certify that the foregoing transcript was

 8      recorded by me stenographically at the time and place aforesaid

 9      in Criminal Action No. 15-10338-FDS, UNITED STATES vs. HERZZON

10      SANDOVAL, et al., and thereafter by me reduced to typewriting

11      and is a true and accurate record of the proceedings.

12                  Dated this 7th day of June, 2018.

13                                  s/s Valerie A. O'Hara

14                                  _________________________

15                                   VALERIE A. O'HARA

16                                   OFFICIAL COURT REPORTER

17

18

19

20

21

22

23

24

25
